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                              UNITED STATES DISTRICT COURT                                       ,

                              WESTERN DISTRICT OF VIRGINIA                                July 24, 2024
                                CHARLOTTESVILLE DIVISION                               %,,% !, ,,,,,,,,,,
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     BABY DOE, et al.,
                                                              CASE NO. 3:22-cv-00049
                                     Plaintiffs,

                              v.                               MEMORANDUM OPINION
                                                               & ORDER
     JOSHUA MAST, et al.,

                                     Defendants.               JUDGE NORMAN K. MOON

         The facts alleged in Plaintiffs’ complaint tell a remarkable story of resilience and

  duplicity. In the aftermath of a September 2019 joint operation by the United States and Afghan

  militaries conducted in rural Afghanistan, “Baby Doe” was found in the rubble of her family’s

  home. Her parents and siblings lay dead. She was seriously injured, and was, as a result, taken to

  a U.S. military hospital for emergency treatment. A short time later, the International Committee

  of the Red Cross (“ICRC”) and the United States and Afghan governments began trying to find,

  and reunite Baby Doe with, her biological family in Afghanistan.

         In February 2020, their efforts paid off. Baby Doe and her family were reunited.

  Plaintiffs John Doe (Baby Doe’s cousin) and his wife Jane Doe are a young, married Afghan

  couple who became Baby Doe’s guardians. They raised Baby Doe as their own daughter for a

  year and a half. But, at the same time, an American couple’s efforts to remove Baby Doe from

  their care were well underway.

         Defendant Joshua Mast—a Marine Corps Major and Judge Advocate—was stationed in

  Afghanistan in the fall of 2019 where he became familiar with Baby Doe and her case. Joshua

  knew that the ICRC was searching for Baby Doe’s family. Yet in October 2019, Joshua and his

  wife Defendant Stephanie Mast asked a Virginia family court for temporary custody of Baby

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  Doe, claiming that she was “stateless,” and that the Afghan government would soon waive its

  authority (also called “jurisdiction”) over her. At the time, Baby Doe had never been to Virginia.

  Or the United States. Stephanie had never met her. But based on their representations, the

  Virginia family court awarded temporary custody to the Masts. Days later, Stephanie secured an

  interlocutory order of adoption from the Virginia Circuit Court, designating Joshua and

  Stephanie Mast as Baby Doe’s father and mother.

         Then, the day before Baby Doe was to be reunited with her biological family in

  Afghanistan, the Masts came to this Court and sued the government, asking for an emergency

  order stopping the transfer. Joshua’s brother, Defendant Richard Mast, represented them in all

  these proceedings. When this Court asked Richard why Joshua and Stephanie wished to stop

  Baby Doe’s return to her relatives in Afghanistan, he responded falsely that they did not seek to

  adopt Baby Doe—only to get her medical care in the United States. This Court denied the

  motion.

         The Masts, however, were undeterred by Baby Doe’s reunification with her own family.

  Indeed, mere days later, Richard secured the Masts a final adoption order from the Virginia

  Circuit Court for Baby Doe. Moreover, Joshua Mast proceeded with a new plan to contact the

  Does directly to convince them to bring Baby Doe to the United States. To do so, Joshua utilized

  his connection with Defendant Kimberly Motley—a lawyer who worked in Afghanistan. Joshua

  had told Motley that he and his wife wanted to adopt Baby Doe and raise her in the United

  States. Motley knew about the custody order. She also knew that Afghanistan hadn’t waived

  jurisdiction over Baby Doe, voiding the order. And she knew that the ICRC reunited Baby Doe

  with her Afghan family. Yet still, Motley agreed to help the Masts take Baby Doe from John and

  Jane Doe so the Masts could raise her. On behalf of the Masts, Motley directly connected with


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  John and Jane Doe. Over the next year, Motley ingratiated herself to John and Jane Doe, telling

  them repeatedly that a U.S. family (the Masts) wanted to help Baby Doe get needed, specialized

  medical care in the United States. She even introduced John and Jane Doe to the Masts directly.

  Joshua Mast paid Motley several thousand dollars for her assistance.

         The Masts also worked with Defendant Ahmad Osmani—an Afghan with family in

  Afghanistan. Osmani met Joshua Mast in a WhatsApp Bible study group, and he agreed to help

  the Masts bring Baby Doe to the United States so they could raise her as their daughter. Osmani

  served as a translator between the Masts and John and Jane Doe. He told the Does the same story

  as Motley. Yet neither Motley nor Osmani in their outreach to John and Jane Doe told them

  about the Masts’ custody or adoption orders; or efforts to stop Baby Doe’s reunification with

  them. Joshua Mast wired Osmani over a thousand dollars. He used the funds to get the Masts a

  fake Afghan passport for Baby Doe, with an Americanized name and the Masts’ last name.

         In August 2021, with the Taliban approaching Kabul, John and Jane Doe felt it could be

  their last chance to get Baby Doe medical care in the United States. Though Jane Doe was in the

  third trimester of her pregnancy, they agreed to bring Baby Doe to the United States to get

  medical care only after Joshua assured them that they would be able to return to Afghanistan

  afterward. While en route, Joshua and Stephanie Mast pressed them three times to let Baby Doe

  travel with them to the United States, claiming it would make her entry into the United States

  easier. The Does refused. Joshua Mast also falsely told the Does that he was acting as their

  attorney and could help get them through customs. When they finally arrived in the United

  States, Joshua Mast gave the immigration officer the fake Afghan passport for Baby Doe—which

  the Does had never seen before. He told them it was merely a means to facilitate her easy travel

  to the United States.


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         In September 2021, once John, Jane and Baby Doe were in the United States and housed

  at Fort Pickett in Virginia, Joshua Mast devised a plan to remove Baby Doe from their care once

  and for all. Under the guise of a transfer of housing, a woman in a transport vehicle placed Baby

  Doe in a car seat while the Does were in the vehicle; when it stopped, the woman picked up

  Baby Doe and held her. A social worker “then informed John and Jane Doe that they were not

  Baby Doe’s lawful guardians and that Joshua Mast had adopted the child.” Initially they did not

  understand. When Joshua Mast entered the room, however, the Does understood that he would

  be taking Baby Doe. The woman handed Baby Doe to Stephanie Mast over John and Jane Doe’s

  objections. Jane Doe—more than eight months pregnant at the time—fell to the ground crying,

  and begged Joshua Mast not to take Baby Doe. Joshua and Stephanie Mast abducted Baby Doe,

  and John and Jane Doe have not seen Baby Doe since that day.

         John and Jane Doe have been doggedly pursuing avenues to challenge the Masts’ custody

  and adoption orders over Baby Doe in the Virginia courts. This month, they achieved some

  success, as the Virginia Court of Appeals held that the Masts’ custody and adoption orders were

  void from the outset. This federal case does not involve adoption or custody. It involves John and

  Jane Doe’s claim that the Masts, Motley and Osmani conspired to abduct Baby Doe, committing

  fraud and several torts in the process. They seek millions in compensatory and punitive damages.

         This matter is before the Court on Defendants’ motions to dismiss Plaintiffs’ amended

  complaint for lack of subject matter jurisdiction, lack of personal jurisdiction, and for failure to

  state a claim. For the following reasons, the Court holds that it has subject matter jurisdiction

  over the bulk of this case—though two of Plaintiffs’ claims, their request for declaratory relief,

  and any claims brought on behalf of Baby Doe will be dismissed without prejudice at this time as

  falling within the domestic relations exception to federal diversity jurisdiction. Notwithstanding


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  those claims, the Court will not abstain from resolving John and Jane Doe’s three remaining tort

  claims under the Burford or Colorado River abstention doctrines. The Court further concludes

  that it has personal jurisdiction over Defendants Kimberly Motley and Ahmad Osmani. Finally,

  Plaintiffs have stated more-than-plausible state-law claims of fraud, conspiracy and intentional

  infliction of emotional distress against the Defendants.

                                             Background 1

          1. Baby Doe’s Past

          Baby Doe’s biological parents and five of her siblings were killed on September 6, 2019,

   in a joint United States-Afghan military operation in rural Afghanistan. Dkt. 68 (“Am. Compl.”)

   ¶¶ 3, 22. U.S. forces discovered Baby Doe—then only two months old—in the rubble of her

   destroyed home, and transported her to a U.S. military hospital for medical care. Id. She suffered

   serious injuries, including bone fractures and second-degree burns. Id.

          The U.S. military subsequently informed the International Committee of the Red Cross

   (“ICRC”) that Baby Doe was in its custody, and the ICRC began searching for her family. Id.

   ¶ 23. The ICRC is the organization that the Fourth Geneva Convention 2 has charged to care for

   children orphaned during wartime and to assist with family reunifications—a role which the

   ICRC and national Red Cross and Red Crescent societies have performed for many years. Id.




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             On a motion to dismiss for failure to state a claim, the Court must “accept as true all
   factual allegations contained in the complaint.” Erickson v. Pardus, 551 U.S. 89, 94 (2007). The
   Court must further “draw all reasonable inferences in favor of the plaintiff.” Nemet Chevrolet,
   Ltd. v. Consumeraffairs.com, Inc., 591 F.3d 250, 253 (4th Cir. 2009). The Court may also take
   judicial notice of state-court proceedings that directly relate to the issues in this federal-court
   action. See Colonial Penn Ins. Co. v. Coil, 887 F.2d 1236, 1239–40 (4th Cir. 1989).
          2
           Geneva Convention Relative to the Protection of Civilian Persons in Time of War,
   Aug. 12, 1949, 6 U.S.T. 3516, 75 U.N.T.S. 287.

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   ¶¶ 23–24. 3 On October 25, 2019, the ICRC made contact with Baby Doe’s uncle, who sought its

   assistance reuniting her with her family. Id. ¶ 25.

          2. Joshua & Stephanie Mast Initiate Virginia Adoption Proceedings

          In 2019, Joshua Mast was a Captain Judge Advocate in the U.S. Marine Corps deployed

   in Afghanistan. Id. ¶ 26. He is also an attorney, barred in Virginia, who served at the Center for

   Law and Military Operations. Id. ¶¶ 13, 29. Joshua Mast learned about Baby Doe while she was

   in the custody of the Department of Defense and under the care of the Military Health System.

   Id. ¶ 26. Plaintiffs allege, upon information and belief, that Joshua Mast knew the ICRC would

   be searching for Baby Doe’s family in Afghanistan, yet he “began taking steps to remove [her]

   to the United States.” Id. ¶¶ 27–28, 36.

          Plaintiffs allege that, as a military lawyer, Joshua Mast knew or should have known that

   he would need to comply with Afghan (as well as United States and Virginia) law if he sought to

   legally adopt a child from Afghanistan. Id. ¶¶ 38–39; see also id. ¶¶ 29–40 (citing governing

   laws and treaties, including the bilateral Security and Defense Cooperation Agreement between

   the United States and Afghanistan). Thus, Joshua Mast should have known that before a child in

   Afghanistan can be adopted in the United States, U.S. law requires that legal guardianship or

   custody must first be obtained over the child in the “foreign-sending country,” here,

   Afghanistan. Id. ¶ 40 & n.3. Afghanistan’s laws “expressly prohibit the guardianship or custody

   of Muslim Afghan children by non-Afghan non-Muslims.” Id. ¶ 41. Joshua and his wife

   Stephanie Mast are neither Muslims nor Afghan Nationals. Id. ¶ 42. And, given what Joshua

   knew about how Baby Doe came into the DOD’s temporary custody, Plaintiffs allege that he



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             See ICRC, Restoring Family Links, http://icrc.org/en/what-we-do/restoring-family-links
   (last visited July 23, 2024).

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   also should have known that Baby Doe would be considered a Muslim Afghan child. See id.

   ¶¶ 39, 41.

          Nevertheless, in October 2019, Joshua and Stephanie Mast initiated custody proceedings

   for Baby Doe in the Juvenile & Domestic Relations Court (“JDR Court”) in Fluvanna County,

   Virginia, and adoption proceedings in the Fluvanna County Circuit Court. Id. ¶ 43. Joshua

   Mast’s brother, Richard Mast, is an attorney barred in Virginia, and he represented Joshua and

   Stephanie in these proceedings. Id. ¶¶ 14, 43.

          Plaintiffs allege that the Masts lacked “any legitimate legal basis” for initiating the

   custody and adoption proceedings in Virginia, considering that (1) “they had not obtained legal

   guardianship of Baby Doe in Afghanistan,” (2) “Baby Doe had lived her entire life in

   Afghanistan,” (3) “Baby Doe had never stepped foot on Virginia soil and remained in

   Afghanistan,” (4) Afghanistan “had sole and exclusive jurisdiction over Baby Doe,” and (5)

   Baby Doe “had no connection with the United States or Virginia.” Id. ¶¶ 43–44. The Masts also

   failed to serve notice of the custody and adoption proceedings on the Department of Defense,

   even though it “was Baby Doe’s ‘physical’ and ‘legal’ custodian at the time,” which Plaintiffs

   assert violated Virginia law. Id. ¶ 45. The Masts represented to the Virginia courts “that they

   expected the Government of Afghanistan to waive its jurisdiction over Baby Doe,” when, “[i]n

   fact, the Government of Afghanistan explicitly asserted its jurisdiction over the child and

   requested, and then secured, her release from the U.S. military facility.” Id. ¶ 46 (emphasis

   added). Plaintiffs also allege that the Masts “falsely claimed” to the Virginia courts “that Baby

   Doe’s birth country and nationality were unknown, that she was a ‘stateless minor,’ and that she,

   therefore, was subject to the Virginia courts’ jurisdiction because no other court would have

   jurisdiction.” Id. ¶ 47. By contrast, in Plaintiffs’ view, Baby Doe “was never stateless,” because,


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   under Afghan laws, “any child found in the territory of Afghanistan whose parents’ nationality is

   unknown is considered a citizen of Afghanistan.” Id. ¶ 48.

          On November 6, 2019, the JDR Court concluded that it had jurisdiction over the case and

   granted Joshua and Stephanie Mast temporary custody of Baby Doe, which would expire in one

   year if the JDR Court did not renew it. Id. ¶ 49 & n.6. Plaintiffs allege that the JDR Court’s

   decision was issued in reliance on “the factual and legal misrepresentations made by the Masts.”

   Id. Two days later, Stephanie and her brother-in-law Richard Mast appeared before the Circuit

   Court and allegedly based on the same and further misrepresentations, secured an order directing

   the State Registrar “to issue a Certificate of Foreign Birth for Baby Doe on an expedited basis

   for the purpose of obtaining medical care.” Id. ¶ 53. Stephanie “had never met Baby Doe, and

   had no firsthand knowledge of Baby Doe’s parents’ identities, her nationality, or even her

   medical needs.” Id. Two days after that, Stephanie, again represented by Richard, secured from

   the Circuit Court an “Interlocutory Order of Adoption,” which “designat[ed] Joshua and

   Stephanie Mast as Baby Doe’s father and mother.” Id. ¶ 54. Stephanie promptly secured from

   the State Registrar a Certificate of Foreign Birth, which also designated Joshua and Stephanie

   Mast as Baby Doe’s father and mother. Id. ¶ 55.

          3. Efforts to Reunite Baby Doe with Her Afghan Relatives

          On October 24, 2019, Baby Doe’s maternal uncle submitted a request to the ICRC for

   assistance returning her to her extended family. Id. ¶ 56. On November 17, 2019, the Afghan

   Ministry of Labor and Social Affairs “documented its official involvement in the search for

   Baby Doe’s biological family.” Id. ¶ 57. Soon after, the ICRC located Baby Doe’s paternal

   uncle, who is Plaintiff John Doe’s father. Id. ¶ 58. Plaintiffs assert that, “[u]nder the laws of

   Afghanistan (like the laws in many other Muslim countries), legal guardianship of an orphan is


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   transferred to the child’s paternal uncle (in the absence of a paternal grandfather or a brother).”

   Id.

          By early January 2020, the Afghan Deputy Minister of Social Affairs met with the U.S.

   State Department’s Assistant Chief of Mission in Kabul, Donna Welton, to inform her that the

   Afghan government had identified Baby Doe’s family. Id. ¶ 59. On January 5, Ms. Welton

   responded: “We stand ready to transfer custody of the infant following an official request from

   the Afghan government. This is a high priority for our government and we would kindly request

   that the Ministry of Labor and Social Affairs expedite this official request so that the infant can

   be reunited with her family members as soon as possible.” Id. ¶ 60. High-level Afghan officials

   understood in February 2020 that Baby Doe was to be “reintegrated into her family.” Id. ¶ 61.

          When the Masts learned of Baby Doe’s impending release on February 26, 2020 to her

   biological family in Afghanistan, they filed a complaint and petition for a temporary restraining

   order (“TRO”) in this Court, naming as defendants, among others, the Department of Defense,

   Department of State and Ms. Welton as Assistant Chief of Mission to the U.S. Embassy in

   Kabul. Id. ¶ 62; Baby L., et. al. v. Esper, et al., No. 3:20-cv-9 (W.D. Va. Feb. 26, 2020), Compl.

   & Pet. (Dkt. 29-2). 4 The Masts sought an emergency order stopping the United States

   Government from transferring Baby Doe to the custody of the Government of Afghanistan for

   reunification with her biological family. Am. Compl. ¶ 63; Baby L., et al. v. Esper, et al., No.

   3:20-cv-9, Mem. in Supp. of Mot. for TRO, at ECF 24–27 (Dkt. 29-8). Richard Mast filed the

   complaint and petition on Joshua and Stephanie Mast’s behalf. Id. They represented themselves

   to be “the sole legal custodians of [Baby Doe]” on grounds that they had “petitioned for and



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            “Baby L.” is a reference to the English first name that Joshua and Stephanie Mast gave
   the child. In this action, the child is referred to as “Baby Doe.”

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   received sole legal and physical custody of [Baby Doe],” in their home jurisdiction. Baby L.

   Compl. & Pet. ¶¶ 12, 14.

          During the hearing convened later that day, Richard Mast stated that the Masts were not

   seeking to adopt Baby Doe, but were only trying to bring her to the United States for medical

   treatment. Am. Compl. ¶ 65; Baby L., et. al. v. Esper, et al., No. 3:20-cv-9, Tr. for TRO Hr’g at

   23 (Dkt. 27-2). The Court inquired: “what are you asking for, ultimately? Your client is not

   asking to adopt the child.”, to which Richard Mast responded: “No, sir. He wants to get her

   medical treatment in the United States because we dispute this is a family member. …” Baby L.

   Tr. for TRO Hr’g at 23. 5 In reality, Richard Mast had very recently represented Joshua and

   Stephanie Mast to secure an Interlocutory Order of Adoption from the Fluvanna County Circuit

   Court. Am. Compl. ¶ 65. Richard, Joshua, and Stephanie Mast never informed this Court or the

   United States Government of the pending adoption proceedings. Id.

          That day, the Court denied Plaintiffs’ motion for a TRO, holding that they were unlikely

   to prevail on the merits of their underlying cause of action. Am. Compl. ¶ 69. The Court ruled

   from the bench that the Masts had not established several of the Winter factors 6 required to issue

   a TRO, namely a likelihood of success on the merits, that the balance of equities tipped in their

   favor, or that issuing a TRO would be in the public interest. See Baby L. Tr. for TRO Hr’g at 39–



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             Richard Mast also made numerous other representations at the TRO hearing that Joshua
   and Stephanie Mast intended to bring Baby Doe to the United States only for medical treatment.
   See, e.g., Baby L. Tr. for TRO Hr’g at 4–5 (stating that Joshua Mast “sought permission from his
   chain of command to advocate on [Baby Doe’s] behalf to seek a path to the United States for her
   to get medical treatment”); id. at 5 (stating that Joshua Mast “obtained … the path to treatment in
   the United States,” and “so he received that order from the J&DR court in his county of
   residence, and he then sought to create the legal pathway that was necessary to bring her here for
   treatment”); id. at 7 (arguing that the Baby L Defendants “all had notice that this was a pathway
   to treatment in the US was being sought by our … client”).
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              Winter v. Nat. Res. Defense Council, 555 U.S. 7, 20 (2008).

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   40. The Court explained that while the JDR Court’s orders were “foundational to [the Masts’]

   asserted authority to care” for Baby Doe, they “reflect[ed] an assumption” that the Government

   of Afghanistan would issue a waiver of jurisdiction over Baby Doe, which it did not do. Id. at

   40–41. Further, the Court explained that the Department of Defense “should have been formally

   served with and provided notice of the proceedings,” and that the Masts had failed to “proceed

   through the proper channels” for Baby Doe to enter the United States. Id. Accordingly, the Court

   denied the Masts’ petition for a TRO. Id. at 42; Am. Compl. ¶ 69.

          The Department of Justice later filed a notice with the Court that Baby Doe had been

   released from U.S. custody and reunited with her “next of kin” on February 27, 2020. Id. ¶ 70.

   “At that time, Baby Doe was placed in the care of her paternal uncle, John Doe’s father.” Id.

   ¶ 71. Baby Doe’s paternal uncle subsequently “transferred his guardianship of Baby Due,

   pursuant to his authority under the laws of Afghanistan, to his son and daughter-in-law, John and

   Jane Doe.” Id. ¶ 72. Baby Doe’s paternal uncle was concerned that she “would require ongoing

   medical care,” and he thought that “John and Jane Doe were best suited to care for Baby Doe

   because they were a young, educated couple who lived in a larger, more cosmopolitan area, with

   better access to doctors and hospitals than the rural region of Afghanistan where he lived.” Id. ¶

   72. John and Jane Doe “welcome[d] Baby Doe into their family and raise[d] her as their own

   child.” Id. ¶ 73. John and Jane Doe “provided everything for Baby Doe,” including food,

   medical care, and treated and loved her like their own biological child. Id. ¶ 74. Baby Doe was

   surrounded by family. Id. Plaintiffs John and Jane Doe “raise[d] Baby Doe as their first child for

   eighteen months, until the very moment of her abduction on September 3, 2021.” Id.




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          4. The Masts Enlisted Kimberly Motley to Assist in Their Scheme by Establishing
             Contact with John and Jane Doe

          Back in the fall of 2019, Joshua and Stephanie Mast had first reached out to Kimberly

   Motley, a U.S. citizen and attorney who had worked in Afghanistan, “to assist in their efforts to

   bring Baby Doe to the United States.” Id. ¶ 76. For her part, Motley had learned of Baby Doe

   through another servicemember and was “representing herself as a ‘guardian ad litem’ for Baby

   Doe,” even though no court order named her as such, and “Afghan law does not provide for

   ‘guardians ad litem.’” Id. ¶ 78.

          At the time, Joshua Mast had identified himself to Motley as a U.S. Marine stationed in

   Afghanistan “who sought to remove Baby Doe from Afghanistan.” Id. He “advised Motley that

   he and Stephanie Mast intended to adopt Baby Doe.” Id. ¶ 76. Between October 25–27, 2019,

   the Masts and Motley “communicated numerous times” by email and phone about their “shared

   desire to remove Baby Doe from Afghanistan.” Id. ¶ 77. Notably, in their email exchange,

   Joshua “acknowledged that he needed approval from the Government of Afghanistan to obtain a

   visa for Baby Doe to travel to the United States.” Id. Motley asked the Government of

   Afghanistan to secure citizenship documentation for Baby Doe as an Afghan citizen, including a

   passport and Afghan ID. Id. ¶ 78.

          When the Masts failed to stop Baby Doe’s reunification with her family in Afghanistan,

   Plaintiffs allege that the Masts devised a plan to “convince Baby Doe’s family to let her travel to

   the United States, where [they] could abduct her and raise her as their own child.” Id. ¶ 75. Thus,

   on February 27, 2020—the very day that the United States released Baby Doe to the Afghan

   Government and ICRC for reunification with her family—Joshua Mast asked Motley for help

   “handl[ing] [Baby Doe’s] situation privately,” by locating her relatives, offering medical care to

   Baby Doe, and then bringing her from Afghanistan to the United States, where the Masts had

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   already petitioned a Virginia Court for legal custody over her. Id. ¶ 79. Joshua Mast also

   provided Motley with an official communication from the Government of Afghanistan to the

   United States that requested Baby Doe’s return for reunification with her family in Afghanistan.

   Id. ¶ 80.

           Plaintiffs allege that “Motley agreed to work with the Masts as they implemented their

   plan.” Id. ¶ 81. Joshua Mast thereafter provided Motley with information he had received about

   the identities of the people to whom Baby Doe had been transferred, and Motley used that

   information to find a point of contact who would be able to connect her with Plaintiffs John and

   Jane Doe. Id. ¶ 82.

           On or around March 6, 2020—mere days after Baby Doe was reunited with her family—

   Motley called John Doe at the Masts’ direction. Id. ¶ 83. John Doe and Jane Doe described

   themselves to Motley as Baby Doe’s “cousin,” and “the wife of [John Doe] and the mother of

   [Baby Doe],” respectively. Id. ¶ 84. In a later conversation the same day, Motley advised Jane

   Doe that she understood that Baby Doe had serious medical issues, and that Motley knew an

   American family who wanted to help Baby Doe. Id. ¶ 85. Plaintiffs allege that, “pursuant to her

   agreement with Joshua and Stephanie Mast,” Motley did not disclose to John and Jane Doe that

   the Masts had a custody order and interlocutory adoption order for Baby Doe, nor that the Masts

   had initiated court proceedings to finally adopt Baby Doe. Id.

           On March 22, 2020, Joshua Mast wired a $4,500 payment to Motley via the electronic

   payments application PayPal. Id. ¶ 87. He also messaged her to confirm that she had received the

   funds. Id. Motley continued to communicate with John and Jane Doe for over a year, “making

   multiple offers to assist with Baby Doe’s medical care and occasionally asking for photographs

   of Baby Doe.” Id. ¶ 88. Plaintiffs allege that Motley undertook these actions at the Masts’


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   direction and “received thousands of dollars to do so.” Id. Importantly, on July 30, 2020, in

   response to Motley’s request for photos, Jane Doe sent to Motley photographs of Baby Doe in

   swimming trunks in a small wading pool. Id. ¶ 90.

          5. The Masts Obtain a Final Adoption Order

          All the while, the Masts continued pursuing a final adoption order from the Virginia

   Circuit Court. Id. ¶ 91. On December 3, 2020—nine months after Baby Doe had been reunited

   with her family in Afghanistan—the Circuit Court entered a final order of adoption for Joshua

   and Stephanie Mast. Id. ¶ 93. In the final adoption order, the Circuit Court continued to find

   (incorrectly in Plaintiffs’ view) that Baby Doe “remains up to this point in time an orphaned,

   undocumented, and stateless minor,” and therefore “has the legal identity granted by order of

   this [Circuit] Court as constituting her sole legal identity.” Id. At the time of the order, no one

   (including Joshua, Stephanie, or Richard Mast) informed John or Jane Doe of these proceedings,

   nor had anyone informed the United States government. Id. Indeed, Richard Mast had expressly

   represented to this federal Court, and in the presence of the United States’ counsel, that the

   Masts did not intend to adopt Baby Doe. Id.

          6. The Masts Enlisted Ahmad Osmani to Assist in Their Scheme to Lure Baby Doe to
             the United States

          Joshua Mast met Ahmad Osmani through a “WhatsApp” Bible study group in early

   2021. Id. ¶ 94. Osmani offered to help the Masts bring Baby Doe to the United States “so that

   they may raise her as their daughter.” Id. Osmani first began to help the Masts by assisting them

   in securing a fake Afghan passport for Baby Doe.

          On February 2, 2021, Stephanie Mast emailed Joshua Mast an altered photo of Baby Doe

   “for use in obtaining an Afghan passport for Baby Doe,” using a photo of the toddler that “is

   nearly identical” to the one that Jane Doe sent to Motley on July 30, 2020. Id. ¶ 95; see also id.

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   ¶¶ 90, 127 (redacted photos). 7 But this new photo had been “altered to add a shirt [and] remove

   the background content,” so it could “be reformatted as a passport photo.” Id. ¶¶ 94–95; see also

   id. ¶¶ 127–28. Joshua forwarded that altered photo to Osmani “to be conveyed to his contact in

   the Afghan passport office.” Id. ¶ 95.

          “In March 2021, Osmani assisted Joshua and Stephanie Mast in obtaining a fake Afghan

   passport for Baby Doe.” Id. ¶ 96. The Masts wired over $1,000 to Osmani, “who then wired

   those funds to a contact in Afghanistan to pay for the procurement of the fake Afghan passport

   with a fake Americanized name that featured the Mast’s last name.” Id.

          On July 10, 2021, Motley offered to introduce John and Jane Doe to “the American

   family supposedly interested in providing medical care for Baby Doe.” Id. ¶ 98. Motley then

   facilitated a phone call between the Masts and the Does, with Osmani serving as the interpreter.

   Id. ¶ 98. On the call, Joshua Mast told the Does that he had been “a volunteer in the U.S. military

   hospital who was responsible for her care while she was hospitalized there.” Id. Joshua further

   told them that, as a result, “he was familiar with Baby Doe’s medical needs and warned them

   that, if Baby Doe did not receive medical care in the United States, she could be blind, brain

   damaged, and/or permanently physically disabled.” Id. He “insisted” that Baby Doe would face

   “serious, permanent harm,” if not brought to the United States for treatment. Id. ¶ 100. John Doe,

   who had trained as a nurse in Afghanistan, was not aware that Baby Doe would face the medical

   issues Joshua Mast described on the call, though John and Jane Doe were concerned about the

   risk of permanent scarring, irregularities in her gait, and other unknown symptoms. Id. ¶ 99.

          During that initial conversation, and in later conversations as well, Joshua Mast asked

   John and Jane Doe to send Baby Doe to the United States for medical treatment. Id. ¶ 100. They


          7
              Unredacted versions of these photos are filed under seal at Dkt. 77 ¶ 127.

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   declined, however, because “they did not want to be separated from their daughter.” Id. Further,

   by July 2021, Jane Doe was in the third trimester of her pregnancy and was concerned about

   traveling to the United States. Id. ¶ 101. John and Jane Doe asked Joshua Mast if he would be

   willing to help them take Baby Doe to India or Pakistan for medical care, where Joshua Mast

   could pay the doctors directly, but Mast declined, insisting India and Pakistan did not have the

   specialists required for Baby Doe’s care. Id.

          Nonetheless, the Masts built up a relationship of trust with John and Jane Doe over time.

   Id. ¶ 102. They communicated by phone and in written correspondence, and Osmani had other

   direct conversations with John and Jane Doe, and they began to trust him too. In their telling,

   Osmani was an Afghan who spoke to them in their native language, and he repeatedly referred to

   John Doe as his “brother,” and he told them that the Masts “were trustworthy people with no

   ulterior motives who just wanted to help Baby Doe receive medical care.” Id. Over time, John

   and Jane Doe began to fear that Baby Doe would suffer long-term consequences if they didn’t

   get her medical care from specialists. Id. ¶ 103.

          Throughout all of these communications between the Masts, Motley and Osmani with

   John and Jane Doe, no one informed the Does that the Masts had obtained a custody order for

   Baby Doe from their local JDR Court in Virginia, filed a federal lawsuit against the United

   States trying to stop Baby Doe’s reunification with them in Afghanistan, and had obtained a final

   adoption order for Baby Doe in a Virginia court. Id. ¶¶ 93, 104. Instead, the Masts allegedly

   misrepresented that “they wanted to bring Baby Doe to the United States solely so that she could

   receive medical treatment and for the sake of doing something good.” Id.




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          7. John & Jane Doe Agree to Bring Baby Doe to United States

          In August 2021, with U.S. troops withdrawing from Afghanistan and the Taliban retaking

   control, the Masts again reached out to John and Jane Doe to ask them to bring Baby Doe to the

   United States for medical treatment. Id. ¶ 105. In these dangerous circumstances, John and Jane

   Doe believed that it could be their last opportunity to obtain specialized medical care for Baby

   Doe. See id. As a result, they told Joshua Mast “that they were considering his proposal, but

   were concerned that they would not be able to return to Afghanistan.” Id.

          Joshua Mast and Osmani “assured them that they would need to be in the United States

   for Baby Doe’s medical care for only two or three months and that they would then be able to re-

   enter Afghanistan without issue.” Id. ¶ 106. (Again, they did not inform the Does about the

   Masts’ adoption order, etc.) The Masts “continued to misrepresent that [they] merely wanted to

   bring Baby Doe to the United States solely to provide her with medical care.” Id. Allegedly in

   reliance upon those misrepresentations, John and Jane Doe “agreed to travel to the United States

   for the purpose of obtaining medical care for Baby Doe.” Id. ¶ 107.

          Joshua Mast informed John and Jane Doe he would prepare immigration paperwork for

   them and Baby Doe to permit them to enter the United States to obtain Baby Doe’s medical care.

   Id. ¶ 108. He never informed them, however, that he had submitted a U.S. Citizenship &

   Immigration Services (“USCIS”) Form I-360 8 for Plaintiff John Doe, which listed Mast’s North

   Carolina address as a mailing address. Id. ¶¶ 108–09. 9 Plaintiffs believe it was Osmani’s wife,




          8
              See USCIS, I-360 Petition for Amerasian, Widow(er), or Special Immigrant Visa.
          9
            In fact, John and Jane Doe only later learned that Mast had filed an I-360 on their
   behalf. On November 10, 2021, USCIS mailed an “intent to deny” letter to Mast’s North
   Carolina address, providing them until December 10, 2021 to respond. Mast never informed
   John and Jane Doe of the USCIS communication, and as a result, they did not timely respond. In
                                                   17
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   Natalie Osmani, who filled out the form. Id. ¶ 109. She wrote by hand a special visa category:

   “Special Immigrant Afghanistan National escorting military dependent.” Id. ¶ 110. But no such

   category exists. 10 Moreover, Plaintiffs allege that “it was false to claim that John Doe would be

   escorting a U.S. ‘military dependent’ when the U.S. had by this time represented to this Court

   that it did not recognize any custodial relationship between Joshua Mast, Stephanie Mast and

   Baby Doe.” Id. Nonetheless, John and Jane Doe were placed on a list of potential evacuees with

   pending Special Immigrant visa applications. Id. ¶ 111.

          Richard Mast also was involved in communications with U.S. immigration authorities

   seeking to get John and Jane Doe, Baby Doe, and also Osmani’s siblings to the United States.

   See id. ¶¶ 112–14. On August 20, 2021, Richard Mast wrote USCIS that “[John and Jane Doe]

   are helping US DoD at great risk to themselves, and have cared for a minor DoD dependent

   child ([Baby Doe]) who has serious medical needs.” Id. ¶ 112. (Yet Baby Doe was not a “minor

   DoD dependent child” at that time, because she had been reunited with her Afghan family and

   was no longer in DOD’s custody. Id. ¶ 113.). In another email to USCIS, Richard Mast wrote

   that Osmani’s siblings were the “family of an Afghan pastor” who had been “very instrumental

   in helping a US Marine” “adopt an Afghan child.” Id. ¶ 114.

          8. Travel to the United States

          The Does traveled to Kabul on August 23, 2021, to spend the night with Osmani’s

   family, at the direction of Joshua Mast and Osmani. Id. ¶ 116. The next morning, the Does and

   Osmani’s siblings traveled to Hamid Karzai International Airport in the midst of the evacuation



   fact, they only learned of the I-360 petition later when they filed requests for personal records
   with USCIS. Id. ¶ 111 n.7.
          10
             See USCIS, I-360 Petition for Amerasian, Widow(er), or Special Immigrant Visa,
   available at http://uscis.gov/i-360 (last visited July 23, 2024).

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   efforts. Id. The Does flew from Afghanistan to Qatar, then to Germany, and ultimately to the

   United States. Id. ¶ 117.

           Between August 24, and 26, 2021, Joshua Mast and Osmani communicated with the

   Does over WhatsApp while they were en route. Id. ¶¶ 116–17. Joshua Mast sent Jane Doe a

   WhatsApp voice note on August 26, 2021, that instructed her to tell anyone who asked that he

   (Joshua Mast), was their lawyer. Id. ¶ 119. He sent her a text stating:

          If anyone asks to talk about your documents, show them this text: I am Major
          Joshua Mast, USMC. I am a Judge Advocate with MARSOC, 11 and I am here at
          Ramstein to provide this group of 6 pax with their original documents and escort
          them through the process. MARSOC coordinated a JSOC 12 operation to extract
          them to Kabul airport three days ago, and I am tracking them down for the above
          purpose.

   Id. Joshua Mast also left John Doe a voice message, stating:

          [I]f someone tries to talk about documents, we want to come and show them all the
          forms that we filed for you all to get to America instead of staying here in Germany.
          So before you talk to them about it, say “we have a lawyer here to talk with you
          about that for us” and that’s me. Just show them the text and have them call me.

   Id. ¶ 120.

           When the Does landed in Ramstein Air Base in Germany, Joshua and Stephanie Mast

   met them. Id. ¶ 121. The Masts visited the Does three times, and “repeatedly [tried] to convince

   John and Jane Doe to allow Baby Doe to travel separately with the Masts, insisting that it would

   be easier for the toddler to enter the United States that way.” Id. However, using Osmani as an

   interpreter, John and Jane Doe refused each time, because they did not want to leave Baby Doe

   in anyone else’s care. Id. While they were in Germany, John Doe informed the Masts that he had

   promised Jane Doe, “that Baby Doe would never leave her side while they were in the United



           11
                United States Marine Forces Special Operations Command.
           12
                Joint Special Operations Command.

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   States.” Id. ¶ 122. In another conversation in Germany, “Jane Doe told Stephanie Mast that she

   could not live without Baby Doe and that, given all that Baby Doe had been through, Baby Doe

   meant even more to Jane Doe than her own yet-to-be-born child.” Id. ¶ 123.

           On August 29, 2021, the Does and Osmani and his siblings arrived at Dulles

   International Airport. Id. ¶ 125. When they arrived, Joshua Mast met the families while they

   were in line for inspection, pulled them out of the line, and then took them over directly to an

   inspecting officer, where they presented their identification documents. Id. John Doe presented

   his Afghan passport and Jane Doe presented an Afghan ID. Id. ¶ 126. The Does then explained

   that Baby Doe had not yet received an ID, “as it was customary in Afghanistan to procure one

   only when the child was old enough to attend school.” Id. Baby Doe was only two years old at

   the time. Id.

           To John and Jane Doe’s surprise, Joshua Mast at that point handed to the inspecting

   officer an Afghan passport for Baby Doe. Id. ¶ 127. 13 John and Jane Doe had never seen this

   passport, and they did not procure it themselves. Id. They were further shocked to see that the

   picture of Baby Doe was the same as the one that Jane Doe had sent to Motley through

   WhatsApp on July 30, 2020, of Baby Doe in swimming trunks—with minor alterations. See id.

   ¶¶ 127–30. Furthermore, the fake passport listed Baby Doe’s last name as “Mast.” Id. ¶ 131.

   “When John and Jane Doe asked Joshua Mast why the name on the passport was incorrect, he

   told them to keep quiet and that it was just to make it easier to get medical care for Baby Doe.”

   Id. ¶¶ 131–33. The Does “were paroled into the United States, which permits them to lawfully

   remain in the United States” until a defined date (then August 28, 2023). Id. ¶ 133. The Does



          13
             Plaintiffs note that Baby Doe’s having an Afghan passport would contradict the Masts’
   representations to multiple courts that she was not Afghan and had no nationality. Id.

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   were then transported to refugee housing at Fort Pickett, in Blackstone, Virginia—a location

   Joshua Mast instructed them to request. Id.

          Five days later, on September 3, 2021, the Does were instructed that they would be

   moving to another housing unit at Fort Pickett. Id. ¶ 134. The Does were then escorted into a

   van, in which a woman sat in the last row with an infant seat, and Baby Doe was placed in that

   infant seat. Id. However, rather than being transported to another housing unit on the base, the

   Does were taken to a building where the woman “picked up Baby Doe and held her while

   instructing John and Jane Doe to walk to the front of the building.” Id. They met someone who

   purported to be a social worker from the Department of State. Id.

          The social worker then “informed John and Jane Doe that they were not Baby Doe’s

   lawful guardians and that Joshua Mast had adopted the child.” Id. ¶ 136. Plaintiffs allege that

   they did not understand what she meant by “adoption,” “as guardianship and kinship care in

   Afghanistan are not understood the same way as adoption in the U.S. legal system.” Id. ¶ 137.

   But the Does did understand that Baby Doe would not be returning with them to their housing

   unit, and that Joshua Mast would be taking Baby Doe with him. Id. When Joshua Mast entered

   the room, Jane Doe, who was more than eight months pregnant, “fell to the ground crying and

   begging him not to take Baby Doe. The woman holding Baby Doe removed her from the room,

   against John and Jane Doe’s objections, and gave her to Stephanie Mast, who was waiting

   outside.” Id. ¶ 138. “John Doe pleaded with Joshua Mast to act like the ‘brother’ that he had

   promised to be to them. Joshua Mast refused, leaving John and Jane Doe in tears as he and

   Stephanie Mast abducted Baby Doe.” Id. ¶ 139. John and Jane Doe have not seen their Baby Doe

   since September 3, 2021. Id.




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          9. The Aftermath

           The next day, the Does contacted Joshua Mast and asked why he had taken their child.

   “Mast responded that he had been instructed to pick up Baby Doe or she would be sent to an

   orphanage.” Id. ¶ 140. He did not add any detail or mention the adoption order.

           In another conversation about two weeks later, Joshua and Richard Mast “again failed to

   disclose the adoption order, but instead told the Does that they currently were not able to

   properly care for Baby Doe at Fort Pickett and were not financial stable enough to provide for

   her.” Id. ¶ 141. However, Joshua and Richard Mast told the Does that after they left the base and

   got jobs and were financially stable, “they would discuss Baby Doe’s status with the Does.” Id.

   Afterward, the Does tried to maintain a connection with Joshua Mast, hoping he might allow

   them to see Baby Doe, but “he repeatedly refused.” Id. ¶ 142.

          10. Virginia Court Proceedings

           On March 28, 2022, Plaintiffs John and Jane Doe petitioned the Circuit Court to vacate

   the final adoption order and grant them custody of Baby Doe. See Dkt. 449-1 at 3 (A.A. v. J.M.,

   No. 0876-23-2, at 3 (Va. Ct. App. July 16, 2024) (Slip Op.)) (“A.A. v. J.M. Slip Op.”); Am.

   Compl. ¶ 152. 14 Joshua and Stephanie Mast argued that the Does lacked standing to challenge

   the adoption, and that Virginia Code § 63.2-1216, which prohibits challenges to a final adoption

   order after six months, barred any collateral attack. See A.A. v. J.M. Slip Op. at 3–4.

           On May 3, 2023, following several days of evidentiary hearings, the Circuit Court

   entered summary judgment for the Does—voiding the final adoption order and finding that they

   were “de facto parents of the child and ‘were entitled to some process that they did not receive,’”


           14
               In the state court proceedings, all adult parties are identified only by their first and last
   initials. In this federal action, the adult plaintiffs are identified as John Doe and Jane Doe, and
   the defendants are identified by their first and last names.

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   but also left the interlocutory adoption order and custody order in place. Id. The Circuit Court

   certified the entire order for appeal, which was heard by the Virginia Court of Appeals. Id.

           On July 16, 2024, the Virginia Court of Appeals rendered its decision. The Court of

   Appeals held that, because the Circuit Court “lacked the power to render the interlocutory and

   final adoption orders and the J&DR court lacked subject-matter jurisdiction to issue the custody

   order,” the Court of Appeals found “all the orders … void ab initio.” Id. at 22. Accordingly, the

   Court of Appeals affirmed in part and reversed in part the Circuit Court’s ruling (reversing as to

   the interlocutory adoption and custody orders). Id. The Court of Appeals further “direct[ed] the

   circuit court to dismiss the adoption proceedings and conduct a hearing on the existing custody

   petition filed by [John and Jane Doe], which remains pending before the circuit court.” Id. at 22–

   23. The Court of Appeals wrote that Joshua and Stephanie Mast “may file custody or adoption

   petitions at their discretion.” Id. at 23.

                                                The Complaint

           Plaintiffs John Doe, Jane Doe and Baby Doe, filed suit in this Court in September 2022.

   Dkt. 1 (“Compl.”). They named as Defendants Joshua Mast, Stephanie Mast, Richard Mast, as

   well as Kimberly Motley and Ahmad Osmani, as well as “nominal defendants” the Secretary of

   the United States Department of State and the Secretary of the United States Department of

   Defense. 15 Plaintiffs charged that the individual Defendants had conspired to unlawfully abduct

   Baby Doe from them—her biological family. Id. ¶ 1. Plaintiffs subsequently filed the operative

   amended complaint in November 2022. Dkt. 68 (“Am. Compl.”).




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                The nominal Federal Defendants were dismissed from this action in August 2023. See
   Dkt. 270.

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          In the amended complaint, Plaintiffs assert that this Court has subject matter jurisdiction

   on account of diversity of citizenship. They also assert that this Court has federal question

   subject matter jurisdiction, and supplemental jurisdiction, “because Plaintiffs’ right to relief as to

   Count I and their request for declaratory relief necessarily depend on resolution of substantial

   questions of federal law.” Am. Compl. ¶¶ 18–19.

          In their Amended Complaint, Plaintiffs bring five state-law causes of action against the

   individual Defendants: (1) Tortious Interference with Parental Rights (against all Defendants);

   (2) Fraud (Joshua Mast, Stephanie Mast, and Kimberly Motley); (3) Common Law Conspiracy

   (all Defendants); (4) Intentional Infliction of Emotional Distress (occasionally, “IIED”) (all

   Defendants); and (5) False Imprisonment (Joshua and Stephanie Mast). Plaintiffs John, Jane, and

   Baby Doe each seek $10,000,000 in compensatory damages as well as $5,000,000 in punitive

   damages “or the maximum allowed under Virginia law against each of the Defendants.” Id. at

   pp. 44–45. Plaintiffs have also sought a declaratory judgment seeking numerous forms of relief

   with respect to Baby Doe’s citizenship, whether she was a “stateless” person, her lack of

   connection to the United States and Virginia, and the legal effects of the actions of the United

   States Government. See id.

                                          Standard of Review

          A motion to dismiss pursuant to Rule 12(b)(1) tests a district court’s subject matter

   jurisdiction. Fed. R. Civ. P. 12(b)(1). “The burden of proving subject matter jurisdiction on a

   motion to dismiss is on the plaintiff, the party asserting jurisdiction.” Adams v. Bain, 697 F.2d

   1213, 1219 (4th Cir. 1982). “A Rule 12(b)(1) motion to dismiss should be granted ‘only if the

   material jurisdictional facts are not in dispute and the moving party is entitled to prevail as a




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   matter of law.’” Balfour Beatty Infrastructure, Inc. v. Mayor & City Council of Balt., 855 F.3d

   247, 251 (4th Cir. 2017) (quoting Evans v. B.F. Perkins Co., 166 F.3d 642, 647 (4th Cir. 1999)).

          Rule 12(b)(2) provides that a defendant may file a motion to dismiss for lack of personal

   jurisdiction. Fed. R. Civ. P. 12(b)(2). “When personal jurisdiction is addressed under Rule

   12(b)(2) without an evidentiary hearing, the party asserting jurisdiction has the burden of

   establishing a prima facie case of jurisdiction.” Hawkins v. i-TV Digitalis Tavkozlesi zrt., 935

   F.3d 211, 226 (4th Cir. 2019); Universal Leather, LLC v. Koro AR, S.A., 773 F.3d 553, 558 (4th

   Cir. 2014). That is, the court must determine “whether the facts proffered by the party asserting

   jurisdiction—assuming they are true—make out a case of personal jurisdiction over the party

   challenging jurisdiction,” but the court “must resolve all factual disputes and draw all reasonable

   inferences in favor of the party asserting jurisdiction.” Hawkins, 935 F.3d at 226.

          Finally, “[a] motion to dismiss pursuant to Rule 12(b)(6) tests the sufficiency of the

   claims pled in a complaint.” ACA Fin. Guar. Corp. v. City of Buena Vista, 917 F.3d 206, 211

   (4th Cir. 2019). It does not “resolve contests surrounding the facts, the merits of a claim, or the

   applicability of defenses.” King v. Rubenstein, 825 F.3d 206, 214 (4th Cir. 2016).

          A complaint must contain “a short and plain statement of the claim showing that the

   pleader is entitled to relief.” Fed. R. Civ. P. 8(a). “This pleading standard does not require

   detailed factual allegations.” ACA Fin. Guar. Corp., 917 F.3d at 211 (citing Ashcroft v. Iqbal,

   556 U.S. 662, 678 (2009)). Instead, “[t]o meet the Rule 8 standard and ‘survive a motion to

   dismiss, a complaint must contain sufficient factual matter, accepted as true, to “state a claim to

   relief that is plausible on its face.”’” Nadendla v. WakeMed, 24 F.4d 299, 305 (4th Cir. 2022)

   (quoting Iqbal, 556 U.S. at 678 (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007))).

   The complaint’s “[f]actual allegations must be enough to raise a right to relief above the


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   speculative level,” Twombly, 550 U.S. at 555, with all allegations in the complaint taken as true

   and all reasonable inferences drawn in the plaintiff’s favor, King, 825 F.3d at 212. However, the

   Court need not “accept the legal conclusions drawn from the facts,” or “accept as true

   unwarranted inferences, unreasonable conclusions, or arguments.” Simmons v. United. Mortg. &

   Loan Inv., LLC, 634 F.3d 754, 768 (4th Cir. 2011) (internal quotation marks omitted).

                            Subject Matter Jurisdiction & Abstention Doctrines

          Defendants first argue that the Court lacks subject matter jurisdiction, principally on the

   notion that Plaintiffs’ claims are in essence a dispute over custody of Baby Doe—a subject that

   falls outside federal court jurisdiction under the so-called “domestic relations” exception.

   Defendants also contend that various abstention doctrines warrant staying this action pending

   resolution of ongoing proceedings in Virginia courts—which are considering whether the Does

   or the Masts are entitled to custody of Baby Doe and whether the Masts’ adoption of Baby Doe

   was lawful. 16 For the following reasons, the Court concludes that it possesses subject matter

   jurisdiction over the core of Plaintiffs’ lawsuit, and that no abstention doctrine supports staying

   proceedings in this case pending a final conclusion of state court proceedings.

          1.      Domestic Relations Exception

          Defendants first argue that “[t]he Court should dismiss the Amended Complaint under the

   domestic-relations exception to diversity jurisdiction, which prevents this Court from granting

   what the Does seek: custody over Baby Doe.” Dkt. 101 at 11. They contend that the “crux” of

   the Amended Complaint, including all causes of action and “all 12 declarations [Plaintiffs] seek,



          16
             Joshua and Stephanie Mast principally developed the domestic relations exception and
   abstention arguments, Dkt. 86 at 11–21; Dkt. 120 at 1–15, though Osmani and Richard Mast also
   have joined in these arguments, Dkt. 93 at 1–2, 11; Dkt. 99 at 8–10.

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   are premised on the theory that the Adoption Order is invalid and that Baby Doe should be in [ ]

   their custody.” Id. at 11–12.

               a. The Contours of the Domestic Relations Exception

           As most relevant here, federal courts have original subject matter jurisdiction over two

   general types of cases: those arising under federal law, and those between citizens of different

   states where the amount in controversy exceeds $75,000. See Home Depot U.S.A., Inc. v.

   Jackson, 587 U.S. 435, 437 (2019) (citing 28 U.S.C. §§ 1331, 1332(a)). “These jurisdictional

   grants are knowing as ‘federal-question jurisdiction’ and ‘diversity jurisdiction,’ respectively.”

   Id. at 437–38. “Each serves a distinct purpose: Federal-question jurisdiction affords parties a

   federal forum in which to vindicate federal rights, whereas diversity jurisdiction provides a

   neutral forum for parties from different States” to litigate disputes arising under state law. Id. at

   438 (internal quotation marks omitted). “If federal question jurisdiction exists, the citizenship of

   the parties is irrelevant and nothing more need be established.” Fed. Nat. Mortg. Ass’n v. Davis,

   963 F. Supp. 2d 532, 535 n.3 (E.D. Va. 2013). If the complaint does not properly invoke federal-

   question jurisdiction, however, then the federal court’s power to hear the case must be predicated

   on diversity jurisdiction. See id.

           “The generally applicable rule is that a federal court, whose jurisdiction has been

   [properly] invoked, must exercise that jurisdiction and address the matter before it.” Sonda v. W.

   Va. Oil & Gas Conservation Comm’n, 92 F.4th 213, 219 (4th Cir. 2024). “Indeed, the Supreme

   Court has emphasized that this duty is a ‘virtually unflagging obligation.’” Id. (quoting Deakins

   v. Monaghan, 484 U.S. 193, 203 (1988)). This is so because “federal courts have ‘no more right

   to decline the exercise of jurisdiction which is given, than to usurp that which is not given.’” Id.

   (quoting Cohens v. Virginia, 19 U.S. 264, 404 (1821)).


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          But the Supreme Court has also long recognized a narrow exception to the jurisdiction of

   the federal courts for certain “domestic relations” matters. Ex Parte Burrus, 136 U.S. 586 (1890);

   Barber v. Barber, 21 How. 582 (1859). It has explained that the domestic relations exception

   “divests the federal courts of power to issue divorce, alimony, and child custody decrees.”

   Ankenbrandt v. Richards, 504 U.S. 689, 703 (1992). To be sure, the Constitution does not itself

   demand the exclusion of domestic relations matters from federal courts’ jurisdiction. Id. at 695–

   97. Rather, the Court grounded this jurisdictional carve-out upon “Congress’ apparent

   acceptance of this construction of the diversity jurisdiction [statute],” and in its later “leav[ing]

   undisturbed ‘the Court’s nearly century-long interpretation’ of the diversity statute ‘to contain an

   exception for certain domestic relations matters.’” Marshall v. Marshall, 547 U.S. 293, 307

   (2006) (quoting Ankenbrandt, 504 U.S. at 700); see generally 28 U.S.C. § 1332 (diversity

   jurisdiction). The Court found further support for “the rule that federal courts lack power to issue

   these types of decrees,” in view of the “special proficiency” that state courts have developed

   “handl[ing] issues that arise in the granting of such decrees” over many years. Ankenbrandt, 504

   U.S. at 704.

          Federal courts should be wary of taking too expansive a view of the domestic relations

   exception, however. Take Ankenbrandt. There, the Supreme Court “reined in” some lower

   courts’ expansive interpretations of the domestic relations exception. See Marshall, 547 U.S. at

   299 (citing Ankenbrandt, 504 U.S. 689). The Court held that the “domestic relations exception”

   did not bar the suit of a plaintiff against her former husband and his new female companion,

   alleging tort claims and seeking money damages for her former husband committing “sexual and

   physical abuse” of their children. Ankenbrandt, 504 U.S. at 691. As the Court explained, “[t]his

   lawsuit in no way seeks such a [divorce, alimony or child custody] decree,” but rather alleged


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   that the defendants had “committed torts” against the children. Id. at 704. Accordingly, “subject-

   matter jurisdiction pursuant to § 1332 [was] proper in this case.” Id.

          Binding Fourth Circuit precedent has also operated to ensure a narrow application of the

   domestic relations exception. In Cole v. Cole, the Fourth Circuit reversed a district court’s order

   of dismissal on the basis of the domestic relations exception. 633 F.2d 1083 (4th Cir. 1980). In

   Cole, an ex-husband sued his ex-wife and police officers, bringing claims of malicious

   prosecution and conspiracy on the grounds that the defendants initiated false criminal charges

   against him for assault, abandonment and nonsupport of his ex-wife. Id. at 1085. The Fourth

   Circuit explained that “[n]ot all family feuds … fall directly into the specialized category of true

   domestic relations cases,” but rather, the court “must consider the exact nature of the rights

   asserted or of the breaches alleged.” Id. at 1088. And, “where the alleged breaches (whether

   tortious or contractual in nature) are of a duty which does not arise solely from family relations

   law, a federal district court may not deny jurisdiction” based on the relation of the parties. Id.

   Still, the Fourth Circuit also cautioned federal courts to be “alert to preclude what are genuinely

   divorce, alimony, or child custody and support cases from creeping around the barrier” to federal

   courts’ hearing those cases. Id. Thus, the inquiry was whether deciding the case would “require

   the court either to adjust family status or to establish duties under family-relations law or to

   determine whether or not such duties had been breached.” Id. at 1089. Accordingly, because the

   Fourth Circuit in Cole determined that “the duty to abstain from malicious prosecution, from

   abuse of process, … and from conversion does not arise out of or require, in order to give rise to




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   the duty, a present or prior family relation,” the Fourth Circuit reversed the dismissal order

   invoking the domestic relations exception. Id. 17

          Several years later, the Fourth Circuit again reversed another district court for invoking

   the domestic relations exception. See Wasserman v. Wasserman, 671 F.2d 832 (4th Cir. 1982). In

   that case, the plaintiff was an ex-wife who sued as defendants her ex-husband and his present

   wife as well as his parents and the attorneys who represented him in a divorce proceeding. The

   plaintiff alleged that “the defendants removed, or assisted in removing, her children from her

   custody without her consent during [their] divorce proceedings.” Id. at 833. The plaintiff further

   alleged that the defendants’ removal of three young children from her custody, taking them

   outside the state of Maryland, and “prevent[ing] the children from returning to or contacting [the

   plaintiff] and conceal[ing] their location from her” gave rise to three claims: child enticement,

   intentional infliction of emotional distress, and civil conspiracy. Id. The Fourth Circuit, “guided

   by the principles announced in Cole v. Cole,” held that “Cole compel[led] the district court to

   entertain this suit.” Id. at 834. That was because the plaintiff’s complaint had only alleged

   “generally cognizable common law torts,” which were “in no way dependent on a present or

   prior family relationship.” Id. at 834–35. In other words, they would not “require the existence of

   any rule particularly marital in nature,” and indeed, “could have arisen between persons with no

   marital relationship whatsoever.” Id. at 835. Finally, and “[m]ost importantly,” the plaintiff

   “[was] not seeking a determination of entitlement to custody or any other adjustment of family

   status,” in contrast with cases “in which the parties actually seek a declaration of present or



          17
             The Supreme Court in Ankenbrandt later favorably cited Cole as an example of the
   “better reasoned views” of the federal circuit courts that “similarly stated that the domestic
   relations exception [w]as narrowly confined to suits for divorce, alimony, or child custody
   decrees.” 504 U.S. at 703 n.6 (citing Cole, 633 F.2d at 1087).

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   future rights as to custody or visitation.” Id. Thus, the Fourth Circuit in Wasserman concluded

   that the domestic relations exception did not apply.

           A few years after Wasserman, the Fourth Circuit reversed yet another district court’s

   application of the exception in Raftery v. Scott, 756 F.2d 335 (4th Cir. 1985). In that case, an ex-

   husband sued his ex-wife, seeking damages for intentional infliction of emotional distress on

   account of her efforts to destroy the father-son relationship. However, the Fourth Circuit

   explained that “the domestic relationship between the parties largely terminated with the 1977

   divorce, and the suit concern[ed] not the establishment and implementation of visitation rights

   but, rather, s[ought] an award of damages precisely because of acts by the former wife to

   frustrate whatever domestic relations aspects remained of her relationship with her former

   husband.” Id. at 337. Because “someone who had never been married to Raftery,” such as

   another family member or “even a nonrelative such as a child nurse or babysitter,” could have

   “set about destroying the relationship between the father and his son, any cause of action arising

   out of such behavior would not be foreclosed from a hearing in federal court because it partook

   of some intra-family aspects.” Id. at 337–38. The Fourth Circuit again articulated the rule: “[a]

   decision by a federal court not requiring the adjustment of family status or establishing familial

   duties or determining the existence of a breach of such duties, does not contravene the domestic

   relations exception to federal diversity jurisdiction.” Id. at 338. Thus, the Fourth Circuit held that

   “jurisdiction is not lacking.” Id.

           By contrast, in Doe v. Doe, the Fourth Circuit confronted “[a] purely custodial case

   between private parties,” about which the court explained “[r]eason and precedent both dictate

   … that the federal court not intervene.” 660 F.2d 101, 106 (4th Cir. 1981). The case concerned a

   dispute between a divorced couple (John and Jane Doe) over custody of their child (Jack Doe).


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   Id. at 102. When John Doe remarried, his new wife (Ann) petitioned to adopt Jack in Virginia

   state court, and Jane Doe contested the adoption. Id. The state court permitted Ann to adopt the

   child, thereby terminating Jane Doe’s parental rights. Id. Jane Doe appealed the adoption order to

   the Supreme Court of Virginia. Id. While that appeal was pending, however, Jane Doe filed a

   petition for writ of habeas corpus in federal district court, “alleging that the detention of Jack

   Doe was unlawful.” Id. Therein, Jane Doe argued that the Virginia Code provision allowing the

   adoption was unconstitutional, as was the state court’s decision. Id. While the district court

   stayed the case pending resolution of the appeal in the Supreme Court of Virginia, the Fourth

   Circuit held that the district court clearly erred by not dismissing the case “for want of

   jurisdiction.” Id. at 105. The Fourth Circuit explained that “[r]easons abound” why federal courts

   should not take “habeas jurisdiction in custody disputes between [a] man and [his] wife,” not the

   least of which that “federal courts are not nearly as well equipped as are local state courts to deal

   with the problems of child custody.” Id. at 106 & n.5. Finding that this was “a purely custodial

   case between private parties,” the Fourth Circuit held that the domestic relations exception

   forbade the federal courts from interfering in the custody dispute. Id.

              b. Whether This Case Presents Federal Questions, Rendering the Domestic
                 Relations Exception Irrelevant

          Having thus described the contours and effect of the domestic relations exception, the

   Court will now consider Plaintiffs’ argument that the exception is inapplicable on the grounds

   that they properly invoked federal question jurisdiction. See Dkt. 113 at 9–11. They argue,

   rightly, that in the Fourth Circuit the domestic relations exception “is applied only as a judicially

   implied limitation on the diversity jurisdiction; it has no generally recognized application on

   federal question jurisdiction.” United States v. Johnson, 114 F.3d 476, 481 (4th Cir. 1997)




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   (emphases added); see Dkt. 101 at 14 (acknowledging that “the Fourth Circuit has held that the

   domestic-relations exception does not apply to federal claims”). 18

          “Federal courts are courts of limited jurisdiction,” which “possess only that power

   authorized by Constitution and statute.” Kokkonen v. Guardian Life. Ins. Co. of Am., 511 U.S.

   375, 377 (1994). As Plaintiffs are the parties asserting jurisdiction, they bear the burden of

   establishing subject matter jurisdiction. See Adams, 697 F.2d at 1219. In the Amended

   Complaint, Plaintiffs first pleaded diversity jurisdiction. Am. Compl. ¶ 18 (citing 28 U.S.C. §

   1332). But they further assert that the Court also has federal question subject matter jurisdiction

   under 28 U.S.C. § 1331, and supplemental jurisdiction under 28 U.S.C. § 1367, “because

   Plaintiffs’ right to relief as to Count 1 and their request for declaratory relief necessarily depend

   on resolution of substantial questions of federal law.” Am. Compl. ¶ 19.

          A case “arises under” federal law so as to confer federal question jurisdiction under two

   circumstances. “Most directly, a case arises under federal law when federal law creates the cause

   of action asserted.” Gunn v. Minton, 568 U.S. 251, 257 (2013). This accounts for the “vast bulk

   of suits that arise under federal law.” Id. However, in the Amended Complaint, Plaintiffs only

   bring five purely state-law causes of action, see Am. Compl. ¶¶ 154–202, rendering this manner

   of establishing federal question jurisdiction inapplicable.

          Still, Plaintiffs contend that although their complaint “assert[s] only state law claims,” it

   nonetheless “can invoke federal question jurisdiction” under the second circumstance—by

   satisfying the test in Gunn v. Minton. See Dkt. 113 at 9. In Gunn, the Supreme Court explained


           18
             While the Masts note that the federal circuits “are split on whether the domestic-
   relations exception applies to federal-question jurisdiction,” the parties agree that “the Fourth
   Circuit has held that it applies only to diversity jurisdiction.” Dkt. 120 at 7–8. In any event, as
   this Court ultimately concludes that Plaintiffs’ Amended Complaint has not properly raised a
   federal question, any circuit split is immaterial to the issues before the Court.

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   that there is a “special and small category” of cases in which “arising under jurisdiction still

   lies.” 568 U.S. at 258. Specifically, courts will possess federal question jurisdiction over the

   “slim category” of cases in which “a federal issue is: (1) necessarily raised, (2) actually disputed,

   (3) substantial, and (4) capable of resolution in federal court without disrupting the federal-state

   balance approved by Congress.” Id.

          Plaintiffs argue that “[e]ach of the Gunn elements is met here.” Dkt. 113 at 10. First,

   Plaintiffs write that a federal issue is “necessarily raised” because it “is a necessary element of

   one of the well-pleaded state claims[.]” Id. (quoting Franchise Tax Bd. of Cal. v. Constr.

   Laborers Vacation Tr. of S. Cal., 461 U.S. 1, 13 (1983)). In Plaintiffs’ view, “a federal issue is a

   necessary element of Count I for tortious interference with parental rights … because the

   declaratory relief that Plaintiffs John and Jane Doe seek—which raises questions under the U.S.

   Constitution’s Supremacy Clause—will establish that they had a right to maintain a parental or

   custodial relationship with Baby Doe.” Dkt. 113 at 10. As for the second element, Plaintiffs

   contend that the “issue of whether John and Jane Doe have parental rights is ‘actually disputed,’”

   and explain that the “gravamen of Plaintiffs’ Amended Complaint is that Defendants interfered

   with the Does’ parental rights.” Id. On the third Gunn element, Plaintiffs argue that the federal

   issue they have raised is the “Supremacy Clause,” which is “of critical importance to the federal

   system as a whole.” Id. at 11. Finally, they claim that “the issue presented here is ‘capable of

   resolution in federal court without disrupting the federal-state balance approved by Congress.’”

   Id. (quoting Gunn, 568 U.S. at 258). Plaintiffs further opine that, while “[t]here is no question

   that domestic relations is one area in which states have special responsibilities,” the domestic

   relations exception is “judge-made,” and is not “approved by Congress.” Id.




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           Plaintiffs’ arguments in support of federal question “arising under” jurisdiction are not

   persuasive. At the outset, while Gunn’s first element requires a federal issue to be “necessarily

   raised,” it is not at all clear what Plaintiffs believe that integral federal issue to be. Plaintiffs

   argued that the Amended Complaint’s first (state law) claim for intentional interference with

   parental rights necessarily relies on a federal issue, which they describe as establishing “that they

   had a right to maintain a parental or custodial relationship with Baby Doe.” Dkt. 113 at 10. But,

   as pleaded, the Amended Complaint also asserts that Afghan law—not United States federal

   law—established Plaintiffs’ parental and custodial rights over Baby Doe. See, e.g., Am. Compl.

   ¶ 155; id. ¶ 157 (alleging that “each of the Defendants was aware that [Plaintiffs] were the lawful

   guardians of Baby Doe as determined by the Government of Afghanistan”); id. ¶ 72 (“Baby

   Doe’s paternal uncle transferred his guardianship of Baby Doe, pursuant to his authority under

   the laws of Afghanistan, to his son and daughter-in-law, John and Jane Doe.”). 19

           “A plaintiff’s right to relief for a given claim necessarily depends on a question of federal

   law only when every legal theory supporting the claim requires the resolution of a federal issue.”

   Dixon v. Coburg Diary, Inc., 369 F.3d 811, 816 (4th Cir. 2004) (en banc). As a result, “if the

   plaintiff can support his claim with even one theory that does not call for an interpretation of

   federal law, his claim does not ‘arise under’ federal law for purposes of § 1331.” Id. at 817.

   Since a plain reading of Plaintiffs’ intentional interference with parental rights claim does not

   solely rest on a federal issue—but instead, Plaintiffs have put forward a theory supporting the




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             Additionally, in arguing that they stated a plausible claim for tortious interference with
   parental rights that survived Defendants’ Rule 12(b)(6) motion to dismiss, Plaintiffs further
   asserted that the Masts “were complete strangers to [Baby Doe] and her Afghan relatives,” and
   that “[Plaintiffs] had become her legal guardians under Afghan law.” Dkt. 113 at 34 (emphasis
   added) (citing Am. Compl. ¶¶ 71–74).

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   claim based upon foreign law and Virginia law—the Court cannot accept that an issue of federal

   law is “necessarily raise[d]” by the claim. 20

           Further, Plaintiffs vaguely cite the Supremacy Clause, Am. Compl. at pp. 44–45 (Prayer

   (a)(i), (x), (xi)), yet assert only that the declaratory relief they seek “raises questions under the

   U.S. Constitution’s Supremacy Clause”—without identifying what those questions are. Dkt. 113

   at 10 (emphasis added). It is not enough to gesture to “raise[d] questions” under federal law and

   the Supremacy Clause to demonstrate a “disputed issue of federal law” that is “necessarily

   raise[d]” in a case. Cf. Manning v. Merrill Lynch Pierce Fenner & Smith, 772 F.3d 158, 165 (3d

   Cir. 2014) (“Defendants simply cannot carry their burden of establishing [removal] jurisdiction

   based on a ‘disputed question of federal … law’ without identifying the particular source of

   federal law for the judiciary to interpret”) (quoting Grable & Sons Metal Prods., Inc. v. Darue

   Eng’g & Mfg., 545 U.S. 308, 310 (2005)).

           Even assuming Plaintiffs had shown that a federal issue is “necessarily raised” in this

   case—and they have not—they still have not demonstrated that such federal issue is “capable of

   resolution in federal court without disrupting the federal-state balance approved by Congress.”

   Gunn, 568 U.S. at 258. Plaintiffs have asserted that there is a federal issue necessarily raised

   because the declaratory relief they seek “will establish that they had a right to maintain a parental

   or custodial relationship with Baby Doe.” Dkt. 113 at 10. And Plaintiffs seek declarations that, as

   a matter of federal law (under the Supremacy Clause and “Executive’s foreign affairs power”),



           20
               Plaintiffs’ contention that their “derivative claim for conspiracy in Count III” also
   necessarily raises an issue of federal law on the same grounds, fails for the same reasons. See
   Dkt. 113 at 10. Plaintiffs’ conspiracy count could be satisfied upon a theory that Defendants
   conspired to defraud Plaintiffs—another Virginia state-law claim—further cementing that there
   is at least one theory of Plaintiffs’ conspiracy claim that does not contemplate the interpretation
   of federal law. See Dixon, 369 F.3d at 816–17.

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   the United States’ decisions to recognize Baby Doe as an Afghan citizen and thus the Afghan

   Government’s jurisdiction over her; and to allow her transfer to the Government of Afghanistan

   for family reunification, are binding on and supersede any contrary ruling by the Virginia courts,

   Am. Compl. at pp. 44–45 (Prayer (a)(i), (x)-(xii)).

          With this argument, Plaintiffs try to cloak a quintessential state-law matter—a

   determination of child custody—in federal garb. But child custody has long been held a matter of

   state law, not federal law. See Ex Parte Burrus, 136 U.S. at 593–94 (“The whole subject of the

   domestic relations of husband and wife, parent and child, belongs to the laws of the states, and

   not to the laws of the United States.”); Elk Grove Unified Sch. Dist. v. Newdow, 542 U.S. 1, 13

   (2004) (citation omitted) (abrogated on other grounds by Lexmark Int’l, Inc. v. Statis Control

   Components, Inc., 572 U.S. 113, 127–28 (2014)) (absent certain “rare instances … in which it is

   necessary to answer a substantial federal question that transcends or exists apart from the family

   law issue,” “in general it is appropriate for the federal courts to leave delicate issues of domestic

   relations to the state courts”). And “sound policy considerations” support the “long-held

   understanding” that domestic relations matters (like child custody fights) were reserved for state

   courts. Ankenbrandt, 504 U.S. at 703. Thus, while Plaintiffs write that the “gravamen” of their

   complaint is that Defendants “interfered with John and Jane Does’ parental rights,” Dkt. 113

   at 10, this, in fact, betrays the fundamental state-law basis of Plaintiffs’ claims—and not the

   existence of some discrete, underlying federal issue. 21



          21
              That is not to say that the decision of the Executive Branch to transfer Baby Doe to the
   Afghan Government for reunification with her relatives, and the underlying important federal
   interests including exercise of the foreign affairs powers, are irrelevant to John and Jane Doe’s
   efforts to get Baby Doe back. Indeed, those federal interests are amply documented by the
   submission of the Statement of Interest of the United States of America in Fluvanna County
   Circuit Court. See Dkt. 77-1. But the preemptive effect of such federal interests vis-à-vis John
   and Jane Doe’s, and the Masts’ asserted parental and custodial rights over Baby Doe is an issue
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          Plaintiffs make one last attempt to get “arising under” jurisdiction, by arguing that the

   issue presented here is capable of resolution in federal court “without disrupting the federal-state

   balance approved by Congress,” focusing on that last limitation. Dkt. 113 at 11 (quoting Gunn,

   568 U.S. at 258 (Plaintiffs’ emphasis)). In their view, the domestic relations exception is only

   “judge made”—not “approved by Congress”—so even if there is some disruption, it isn’t one

   that would upset a Congressionally-approved balance, and so the fourth Gunn element is

   satisfied. See Dkt. 113 at 11 (citing Loubser v. Thacker, 440 F.3d 439, 440 (7th Cir. 2006)).

   However, though the domestic relations exception had its origins in the courts, Plaintiffs’

   argument overlooks the Supreme Court’s determination that Congress, through its amendment of

   the 1948 diversity statute, had accepted the “nearly century-long interpretation” of prior statutes

   construing “diversity jurisdiction to contain an exception for certain domestic relations matters.”

   See Ankenbrandt, 504 U.S. at 700.

          For these reasons, federal question jurisdiction does not exist in this matter and the sole

   basis for jurisdiction is diversity jurisdiction. Accordingly, the domestic relations exception is

   applicable. Still, the fact that the exception is applicable does not mean that it will bar any and all

   of Plaintiffs’ claims. Rather, the Court must proceed to address each of Plaintiffs’ claims to

   ascertain whether—and if so, the extent to which—they fall within the scope of the domestic

   relations exception.




   for the Virginia courts that are adjudicating such rights. See A.A. v. J.M. Slip Op. at 21–22 n.24.
   As to Plaintiffs’ state tort-law claims seeking monetary relief in this federal case, Plaintiffs have
   not shown that such federal interests are necessarily raised or anything more than tangential or
   cumulative.

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               c. Whether the Domestic Relations Exception Bars Plaintiffs’ Claims

           In view of Ankenbrandt and the trio of Fourth Circuit cases reversing district courts’

   application of the domestic relations exception, Defendants have a steep hill to climb in arguing

   that the “narrow” exception applies. See Ankenbrandt, 504 U.S. at 701. The domestic relations

   exception “encompasses only cases involving the issuance of a divorce, alimony, or child

   custody decree,” id. at 704 (emphases added), and the Amended Complaint does not, by its

   terms, seek any such decree from this Court, Am. Compl. at pp. 44–46. Nor does it seek

   injunctive relief. See id. And generally, the fact that Plaintiffs do not seek such forms of relief

   prohibited in federal court would largely resolve the question, as the domestic relations exception

   “does not apply when the parties do not ask the federal court to perform these status-related

   functions—issuing a divorce, alimony, or child custody decree ….” Chevalier v. Estate of

   Barnhart, 803 F.3d 789, 797 (6th Cir. 2015).

           Still, the Court must “be alert to preclude what are genuinely divorce, alimony or child

   custody and support cases from creeping around the barrier.” Cole, 633 F.2d at 1088. Thus, the

   Court “must consider the exact nature of the rights asserted or of the breaches alleged,” and,

   “where the alleged breaches (whether tortious or contractual in nature) are of a duty which does

   not arise solely from family relations law, a federal district court may not deny jurisdiction”

   based on the relation of the parties. Id.

                         i.    Intentional Infliction of Emotional Distress

           Fourth Circuit precedent readily establishes that the Court maintains jurisdiction over a

   number of Plaintiffs’ claims, which fall outside the domestic relations exception. For instance,




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   the Fourth Circuit has squarely held that intentional infliction of emotional distress 22 (count 4) is

   a “generally cognizable common law tort” that is “in no way dependent on a present or prior

   family relationship.” Wasserman, 671 F.2d at 834–35; Raftery, 756 F.2d at 337–38 (same). 23 A

   breach of the obligation not to cause another severe emotional distress is a breach of a generally

   applicable common law duty, Wasserman, 671 F.2d at 834–35 & n.2—not one that “arise[s]

   solely from family relations law,” Cole, 633 F.2d at 1088 (emphasis added). Plaintiffs raise an

   IIED claim against the Masts, Motley and Osmani alleging that they “knowingly facilitated the

   plan to abduct Baby Doe by misrepresenting their intentions to [Plaintiffs] when persuading

   them to bring Baby Doe to the United States supposedly for the sole purpose of obtaining

   medical treatment”; that those actions were outrageous and intolerable; and that they caused

   Plaintiffs “extreme emotional distress.” Am. Compl. ¶¶ 193–95. And Plaintiffs allege that

   Richard Mast made fraudulent statements to the Virginia courts and submitted a “deceptive

   immigration application” for Plaintiff John Doe. Id. ¶ 192. 24


           22
            The tort of IIED in Virginia “requires four elements to be proved: (1) the wrongdoer’s
   conduct was intentional or reckless; (2) the conduct was outrageous and intolerable; (3) there
   was a causal connection between the wrongdoer’s conduct and the emotional distress; and (4)
   the emotional distress was severe.” Harris v. Kreutzer, 624 S.E.2d 24, 33 (Va. 2006).
           23
             “In Wasserman … we held” that “‘the tort[ ] of … intentional infliction of emotional
   distress … [is] in no way dependent on a present or prior family relationship,’” and it therefore
   “does not contravene the domestic relations exception to federal diversity jurisdiction.” Raftery,
   756 F.2d at 338 (quoting Wasserman, 671 F.2d at 834–35).
           See also Drewes v. Ilnicki, 863 F.2d 469, 472 (6th Cir. 1988) (holding that the plaintiff’s
   “intentional infliction of emotional distress claim is a traditional tort action for damages,” the
   facts of which were “almost identical to those in Raftery, where the Fourth Circuit held that the
   federal courts had jurisdiction”).
           24
             Plaintiffs also allege that “the Masts conspired to separate Baby Doe unlawfully from
   the only family she had ever known for the vast majority of her short life,” and that the Masts’
   conduct “was both deceitful and criminal, violating the laws of Afghanistan, Virginia, and the
   United States.” Id. ¶¶ 190–91. However, as Plaintiffs have not asked the Court for an award of
   custody, Dkt. 113 at 5; see generally Am. Compl., neither does Plaintiffs’ IIED claim require the
   Court to pass upon the validity of Virginia custody and adoption decrees—further demonstrating
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          Plaintiffs also do not ask the Court “to adjust family status or to establish duties under

   family-relations law or to determine whether or not such duties had been breached.” See Cole,

   633 F.2d at 1089. And, in any event, nothing about the claim would require the Court to make

   such a determination. Plaintiffs seek the traditional tort remedy of monetary damages, not

   prohibited relief like an award of custody. See Ankenbrandt, 504 U.S. at 691, 703–04. Plaintiffs’

   IIED claim not fall within the domestic relations exception. See Raftery, 756 F.2d at 337–38;

   Wasserman, 671 F.2d at 834–35. It is therefore cognizable.

                       ii.   Common Law Conspiracy

          For similar reasons, Plaintiffs’ common law conspiracy claim (count 3) also falls outside

   the domestic relations exception. The Fourth Circuit has held that a plaintiff ex-husband’s

   complaint alleging conspiracy against his ex-wife and police officers “did not present any true

   domestic relations claims.” Cole, 633 F.2d at 1087–88. Like IIED, conspiracy 25 is another

   “generally cognizable common law tort[ ]” that is “in no way dependent on a present or prior

   family relationship.” Wasserman, 671 F.2d at 834–35.

          Here, Plaintiffs claim that each Defendant “acted in furtherance of this conspiracy to

   defraud John and Jane Doe and to abduct and unlawfully restrain Baby Doe.” Am. Compl. ¶ 183.

   To that end, Plaintiffs allege that the Masts and Motley “fraudulently induced” Plaintiffs to send

   a photograph of Baby Doe that would be used in her fake Afghan passport; and that the Masts



   it falls outside the bounds of the domestic relations exception. See Dkt. 113 at 5 (arguing that
   Plaintiffs’ claims including IIED “stand even if the Adoption Order were not void”); id. at 7
   (arguing that Plaintiffs’ IIED claim does not “require a finding that the Adoption Order is void”).
          25
             “A common law conspiracy consists of two or more persons combined to accomplish,
   by some concerted action, some criminal or unlawful purpose or some lawful purpose by
   criminal or unlawful means. The foundation of a civil action of conspiracy is the damage caused
   by the acts committed in furtherance of the conspiracy.” Comm. Bus. Sys., Inc. v. Bellsouth
   Servs., Inc., 453 S.E.2d 261, 267 (Va. 1995).

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   (on their own and acting through Motley and Osmani) “fraudulently misrepresented their

   intentions” to persuade Plaintiffs to bring Baby Doe to the United States, allegedly “for the sole

   purpose of obtaining medical treatment,” when in fact they planned to take custody of her. See,

   e.g., Am. Compl. ¶¶ 183–86. And, as described elsewhere, Plaintiffs set forth in great factual

   detail allegations underlying those claims of fraud as well as Defendants’ combination together

   to effectuate that fraud. See infra pp. 77–83. Plaintiffs also claim that Richard Mast made false

   representations to the Virginia courts and USCIS in furtherance of the conspiracy. Id. ¶ 185.

   And, as in Wasserman, Plaintiffs are not seeking “a determination of entitlement to custody or

   any other adjustment of family status,” but rather monetary damages on their conspiracy claim.

   See id. at 835; Am. Compl. at pp. 44–45; see also Raftery, 756 F.2d at 338 (“A decision by a

   federal court not requiring the adjustment of family status or determining the existence of a

   breach of such duties, does not contravene the domestic relations exception to federal diversity

   jurisdiction.”). Thus the domestic relations exception is no bar to resolution of Plaintiffs’

   common law conspiracy claim. 26

                       iii.   Fraud

          So too does Plaintiffs’ claim of fraud (count 2) survive this challenge, as common law

   fraud in Virginia also constitutes a “generally cognizable common law tort” that also is not

   dependent on a present or prior family relationship. See Wasserman, 671 F.2d at 834–35. 27 The




          26
             The Court is similarly persuaded by Plaintiffs’ arguments that their common law
   conspiracy claim is not necessarily premised on the alleged invalidity of the Virginia Adoption
   Order, further demonstrating that the domestic relations exception is no obstacle to the Court’s
   consideration of the conspiracy claim. See Dkt. 113 at 5–7.
          27
             The “common law tort” of fraud requires proof of the following elements: “(1) a false
   representation, (2) of a material fact, (3) made intentionally and knowingly, (4) with intent to
   mislead, (5) reliance by the party misled, and (6) resulting damage to him.” Qiu v. Huang, 885
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   alleged breach is not of a duty that “arise[s] solely from family relations law.” Cole, 633 F.2d

   at 1088. In the Amended Complaint, Plaintiffs charge the Masts and Motley with common law

   fraud. See Am. Compl. ¶¶ 161–79. Among other things, they allege that the Masts and Motley

   “intentionally made misleading and false statements and/or material omissions to [Plaintiffs] to

   perpetrate the abduction of Baby Doe,” and that Plaintiffs relied on those misrepresentations

   “when they communicated with [Motley], sent her photographs of Baby Doe, and agreed to

   travel to the United States for the purpose of obtaining medical treatment for Baby Doe.” Id.

   ¶¶ 162, 165. The Masts used and digitally altered the photograph to obtain a fake Afghan

   passport for Baby Doe. Id. ¶ 166. And the Masts and Motley “intentionally misrepresented to

   [Plaintiffs] that their sole intention was to procure medical assistance for Baby Doe,” when they

   withheld information about the Virginia custody and adoption proceedings and orders, id. ¶ 168,

   and ultimately “utilized [an] opportunity” at Fort Pickett “to remove Baby Doe from [Plaintiffs’

   custody,” id. ¶ 171.

          Plaintiffs further allege that they reasonably relied “on this pattern of deception” by the

   Masts and Motley, and as a result, Plaintiffs “traveled to the United States and subjected

   themselves to the controlled environment of a military base that Joshua Mast manipulated to his

   advantage to abduct Baby Doe in broad daylight.” Id. ¶¶ 172–73. Plaintiffs allege that if they had

   been aware that the real purpose of the communications “was to facilitate the Masts’ abduction

   of Baby Doe, they would never have communicated with Motley, shared photographs of Baby

   Doe, or traveled to the United States at the behest of Joshua and Stephanie Mast.” Id. ¶ 175. As

   pleaded, the fraud claim is a “generally cognizable common law tort” that is not dependent on a




   S.E.2d 503, 513 (Va. Ct. App. 2023) (quoting Thompson v. Bacon, 425 S.E.2d 512, 514 (Va.
   1993)).

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   present or prior family relationship. See Wasserman, 671 F.2d at 834–35. Also Plaintiffs do not

   seek custody or an adjustment to family status, but rather seek money damages. See id. Plaintiffs’

   fraud claim also survives the domestic relations exception challenge.

                       iv.    Tortious Interference with Parental Rights

          Plaintiffs’ claims for tortious interference with parental rights and false imprisonment of

   Baby Doe present closer questions. In Wasserman, the Fourth Circuit held that it was reversible

   error for a district court to have applied the domestic relations exception when the plaintiff

   brought a claim for “child enticement,” which the court explained was a “generally cognizable

   common law tort[ ]” that was “in no way dependent on a present or prior family relationship.”

   671 F.2d at 834–35 & n.2. The elements of that common law claim, as recognized by the Fourth

   Circuit in Wasserman, 28 are not dissimilar from the elements of the later-recognized Virginia law

   claim for tortious interference with parental rights. 29And Plaintiffs argue, with some force, that

   this case is like Raftery, 756 F.2d 335. As in Raftery, Plaintiffs allege that “nonrelative[s] … had

   set about destroying the relationship” between Plaintiffs and their daughter, id. at 337–38, and

   they “primarily” seek “an award of award of damages for Defendants’ tortious acts of




          28
              Wasserman, 671 F.2d at 834 n.2 (quoting Restatement (Second) of Torts § 700 (1979))
   (“One who, with knowledge that the parent does not consent, abducts or otherwise compels or
   induces a minor child to leave a parent legally entitled to its custody or not to return to the parent
   after it has been left him, is subject to liability to the parent.”).
          29
              Wyatt v. McDermott, 725 S.E.2d 555, 562 (Va. 2012) (describing the elements of the
   tort as: “(1) the complaining parent has a right to establish or maintain a parental or custodial
   relationship with his/her minor child; (2) a party outside of the relationship between the
   complaining parent and his/her child intentionally interfered with the complaining parent’s
   parental or custodial relationship with his/her child by removing or detaining the child from
   returning to the complaining parent, without that parent’s consent, or by otherwise preventing
   the complaining parent from exercising his/her parental or custodial rights; (3) the outside
   party’s intentional interference caused harm to the complaining parent’s parental or custodial
   relationship with his/her child; and (4) damages resulted from such interference.”).

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   interference with the Does’ parental rights,” as well as other claims. Dkt. 113 at 4–5.

   Furthermore, Plaintiffs argue that they “do not ask this Court to ‘adjust family status,’ ‘establish

   family duties,’ or establish that Defendants ‘breached such duties.’” Id. at 4. To be sure then,

   intentional interference with parental rights is a generally applicable common law tort that can

   arise even between complete strangers. Cf. Wasserman, 671 F.2d at 835 (considering that child

   enticement, intentional infliction of emotional distress and civil conspiracy are claims that “could

   have arisen between persons with no marital relationship whatsoever”).

          Significantly, however, resolving the merits of Plaintiffs’ tortious interference with

   parental rights claim would require the Court “either to adjust family status or to establish duties

   under family-relations law,” or, at the very least, “to determine whether or not such duties had

   been breached.” See Cole, 633 F.2d at 1089. The claim squarely relies on Plaintiffs’ allegation

   that they were “the biological family and legal guardians of Baby Doe,” and thus they had

   “parental rights” and “custodial rights” under Afghan law and “United States Supreme Court and

   federal law.” Am. Compl. ¶ 155. 30

          Yet Plaintiffs’ reliance on this allegation of parental rights—which Defendants dispute

   and is at issue in the pending Virginia proceedings—sets Plaintiffs’ claim apart from the torts at

   issue in Cole, Wasserman, or Raftery. 31 It is hard to conceive of how the Court could rule on


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             See also Dkt. 113 at 10 (arguing that Plaintiffs John and Jane Doe “will establish that
   they had a right to maintain a parental or custodial relationship with Baby Doe”).
          31
              In Cole, the court wrote that “[t]he duty to abstain from malicious prosecution, from
   abuse of process, from arson, and from conversion does not arise out of or require, in order to
   give rise to the duty, a present or prior family relation,” i.e., torts that undeniably could not ask
   for an adjustment of family status or determination of duties under family relations law. Cole,
   633 F.2d at 1088–89. In Wasserman, the Fourth Circuit wrote that “[m]ost important[ ]” to its
   analysis was the fact that the appellant “is not seeking a determination of entitlement to custody
   or any other adjustment of family status.” 671 F.2d at 835. Indeed, the appellant in that case
   “concede[d] the existence of [a child custody] decree and suggest[ed] neither an intent to
   challenge it or any way the decree is susceptible of such challenge.” Id. Thus, the pending child
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   Plaintiffs’ tortious interference with parental rights claim, without exploring the scope and extent

   of Plaintiffs’ claim to parental rights. Because Plaintiffs’ tortious interference with parental

   rights claim asks the Court for a determination of family status, a declaration of its existence, and

   a determination of the breach of such duties and status, the domestic relations exception

   precludes the claim’s consideration at this time.

                        v.    False Imprisonment

          Plaintiffs’ false imprisonment claim (Plaintiffs’ count V) similarly falls within the

   domestic relations exception. Integral to the claim is Plaintiffs’ allegation that “[s]ince

   September 3, 2021, Joshua and Stephanie Mast have continued to keep Baby Doe captive,

   without the permission or consent of her lawful guardians.” Am. Compl. ¶ 199 (emphasis

   added). The claim could stand if the (disputed) allegation is accepted that Plaintiffs are her

   lawful guardians, it would fail if the Court concluded they were not. The claim, as pleaded, turns

   on a disputed state-law question of child custody at issue in pending Virginia proceedings.

   While, in the abstract, false imprisonment could be described as a “generally cognizable

   common law claim,” see Wasserman, 671 F.2d at 834–35, as pleaded, Plaintiffs in effect ask the

   Court “either to adjust family status or to establish duties under family-relations law or to

   determine whether or not such duties had been breached,” see Cole, 633 F.2d at 1089.

   Accordingly, Plaintiffs’ false imprisonment claim similarly falls within the domestic relations

   exception to diversity jurisdiction at this time.




   enticement and IIED claims could proceed. Id. at 834–35. Finally, in Raftery, the Fourth Circuit
   noted that the parties’ “domestic relationship largely terminated with the 1977 divorce,” and that
   the suit “concerns not the establishment and implementation of visitation rights, but, rather,
   seeks an award of damages” because the ex-wife sought to frustrate “whatever domestic
   relations aspects remained of her relationship with her former husband.” 756 F.2d at 337.

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                         vi.    Declaratory Relief

             Plaintiffs’ attempt to downplay any relation of this federal case to the ongoing custodial

   and adoption dispute pending in the Virginia courts, is also less than persuasive in the context of

   their specific requests for declaratory relief. In Wasserman, the Fourth Circuit found significant

   the fact that that case “d[id] not involve a custodial decree still subject to review and

   modification,” and that the litigants “concede[d] the existence of [a state custody] decree” and

   had no “intent to challenge it.” 671 F.2d at 835. Not so here. Of course, Plaintiffs do not

   explicitly seek an injunction or declaratory judgment awarding them legal or physical custody of

   Baby Doe. See Am. Compl. at pp. 44–46 (Prayer for Relief). Nor could they. But significantly,

   Plaintiffs also do not exclusively seek retrospective relief in the form of money damages. See id.

   Instead, Plaintiffs seek twelve separate declarations that appear singularly focused on

   undermining the factual and legal basis for the Masts’ Virginia state court custody and adoption

   orders.

             Some courts have allowed tort claims for purely retrospective relief to proceed, while

   barring claims for prospective relief that effectively challenged child custody decisions. For

   instance, the D.C. Circuit held that the domestic-relations exception was “no bar to the exercise

   of federal diversity jurisdiction” in “a tort suit arising out of an alleged abduction by one parent

   of a child in the custody of the other parent” that sought monetary damages. Bennett v. Bennett,

   682 F.2d 1039, 1042 (D.C. Cir. 1982) (citing Wasserman). At the same time, the D.C. Circuit

   “refuse[d] to entertain a request for prospective relief” that required consideration of the best

   interests of the child, especially when there was “at least one, and possibly two, state courts

   [that] seem to claim continuing jurisdiction over the custody of [the children].” Id. at 1042–43.




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          So too here, the Court concludes that Plaintiffs’ requested declaratory judgments are akin

   to the requests for prospective relief in Bennett. 32 If granted, the declarations sought would

   directly undermine the Virginia state court custody and adoption orders—or, at the very least,

   adjudicate factual and legal issues that are inextricably bound up with the Virginia courts’

   custody and adoption determinations—but only tangential to Plaintiffs’ remaining requests for

   retrospective relief. Some requests are thinly veiled. For example, Plaintiffs seek a declaration

   that the Executive’s exercise of its foreign affairs power by transferring Baby Doe to Afghan

   custody “is binding on state courts.” Am. Compl. at p. 45 (Prayer (a)(xii)). Or that “a state court

   lacks authority to override the Executive Branch’s foreign policy decision” to transfer Baby Doe.

   Id. (Prayer (a)(xi)). Or, again, that the Executive’s decision to transfer Baby Doe “supersedes and

   nullifies any conflicting state court action.” Id. (Prayer (a)(x)). These cannot be understood

   except as a broadside to the Virginia state custody and adoption orders.

          But the other more subtle declaratory judgments would similarly intrude upon Virginia’s

   pending consideration of Baby Doe’s custody and adoption. See, e.g., id. at pp. 44–45 (Prayer

   (a)(v)-(vii)) (seeking declarations that Baby Doe “had no connection, let alone a significant

   connection, to the Commonwealth of Virginia”). Federal law does not recognize “a direct role

   for the federal courts in determining child custody.” See Bennett, 682 F.2d at 1043. Because the

   declarations Plaintiffs seek cross the line into predicate rulings upon the question of Baby Doe’s

   custody and adoption status, the Court concludes that they fall within the domestic relations


          32
             To be sure, while the court in Bennett addressed a request for injunctive relief rather
   than declaratory relief, this Court considers the motivating distinction to be whether the plaintiff
   had only sought retrospective relief (i.e., money damages) versus prospective relief (in the form
   of injunctive or declaratory relief). See Bennett, 682 F.2d at 1042 (distinguishing between a suit
   that “compassed only retrospective relief,” over which the court had jurisdiction, compared with
   “a case in which the parties actually seek a declaration of present or future rights as to custody or
   visitation”) (citing Wasserman, 671 F.2d at 835).

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   exception to federal diversity jurisdiction. Still, as in Bennett, with respect to Plaintiffs’ “claim

   for monetary damages, [the Court] see[s] no bar to the exercise of federal diversity jurisdiction in

   this case.” Id. at 1042. “A federal court is entirely competent, in this case as much as any other,

   to determine traditional tort issues such as the existence of a legal duty, the breach of that duty,

   and the damages flowing from that breach.” Id.

           At bottom, the domestic relations exception does not bar Plaintiffs’ case. The domestic

   relations exception only “divests the federal courts of the power to issue divorce, alimony, and

   child custody decrees,” Ankenbrandt, 504 U.S. at 703—none of which are explicitly sought by

   Plaintiffs in this action. Its core persists—that which seeks monetary relief for torts that arise

   independently of any family-court decision, like the Fourth Circuit’s decision in Wasserman.

   Plaintiffs’ fraud, conspiracy, and intentional infliction of emotional distress counts are all

   generally cognizable common law tort claims, that are not dependent on any family relationship

   or other duty arising in domestic relations. These counts remain.

           Still, the Court must excise those aspects Plaintiffs’ case—specifically, their requests for

   declaratory relief as well as their claims of tortious interference with parental rights and false

   imprisonment—as running afoul of the domestic relations exception, and so the Court shall

   dismiss them, without prejudice. 33

           2.      Burford Abstention

           Defendants also argue that, “[e]ven if the domestic-relations exception to federal

   jurisdiction did not apply, this matter still presents a textbook case for abstention.” Dkt. 101




           33
               At the conclusion of any state court proceedings relating to Baby Doe’s adoption,
   Plaintiffs may move this Court to amend their complaint to reallege such claims and requests for
   relief, to the extent they would not be inconsistent with the final state court decision.

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   at 16. Defendants contend that abstention is warranted both under Burford 34 and Colorado

   River 35 abstention principles. Id. at 17–19 (Burford); id. at 19–21 (Colorado River).

          Federal courts “have a strict duty to exercise the jurisdiction that is conferred upon them

   by Congress.” Quackenbush v. Allstate Ins. Co., 517 U.S. 706, 716 (1996). Indeed, federal courts

   have a “virtually unflagging obligation” to exercise the jurisdiction Congress that provided them.

   Colorado River, 424 U.S. at 817. But that duty is not “absolute.” Quackenbush, 517 U.S. at 716.

   There are certain judicially recognized situations where federal courts should abstain.

          Burford identifies one such situation. The Burford abstention doctrine “‘justif[ies]

   dismissal of a federal action’ in a ‘narrow range of circumstances.’” Martin v. Stewart, 499 F.3d

   360, 364 (4th Cir. 2007) (quoting Quackenbush, 517 U.S. at 726). A court should abstain under

   Burford when (1) there are “difficult questions of state law bearing on policy problems of

   substantial public import whose importance transcends the result in the case then at bar,” and (2)

   “the exercise of federal review of the question in a case and in similar cases would be disruptive

   of state efforts to establish a coherent policy with respect to a matter of substantial public

   concern.” New Orleans Pub. Serv., Inc. v. Council of New Orleans, 491 U.S. 350, 361 (1989)

   (“NOPSI ”). But those “extraordinary circumstances” must be present to dismiss a case under

   Burford, and notably, the balance between state and federal interests “only rarely favors

   abstention.” Quackenbush, 517 U.S. at 728.

          Defendants, for their part, argue that the Court should abstain under Burford, because

   “adoption is a core state power,” and that “this proceeding would intrude on the [Virginia




           34
                The doctrine derives from Burford v. Sun Oil Co., 319 U.S. 315 (1943).
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            So too, from Colorado River Water Conservation District v. United States, 424 U.S.
   800 (1976).

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   custody] proceeding.” Dkt. 101 at 17. They further contend that “the Supreme Court has

   recognized that Burford’s abstention principles are relevant in some cases ‘involving elements of

   the domestic relationship even when the parties do not seek divorce, alimony, or child custody.’”

   Dkt. 101 at 17 (quoting Ankenbrandt, 504 U.S. at 705). In Defendants’ view, this lawsuit, at its

   core, “challenges whether Virginia rightfully allowed the Masts to adopt Baby Doe.” Dkt. 101

   at 19. And because Plaintiffs raise only “state common law claims,” Defendants argue that this is

   a “parallel proceeding [that] risks upending the [Virginia] proceeding, as [Plaintiffs] ask this

   Court to declare Baby Doe’s adoption invalid and to declare that the state court did not have

   jurisdiction to enter that order.” Id.

           True, the Supreme Court has explained that “[i]t is not inconceivable … that in certain

   circumstances, [Burford abstention] might be relevant in a case involving elements of the

   domestic relationship even when the parties do not seek divorce, alimony, or child custody.”

   Ankenbrandt, 504 U.S. at 705. And that situation could arise when the case presents “difficult

   questions of state law bearing on policy problems of substantial public import whose importance

   transcends the result in the case then at bar,” see id. at 705–06, i.e., when the Burford abstention

   requirements are met.

           But that is not the case here. Defendants’ arguments in favor of Burford abstention might

   have more force if this Court had not already analyzed Plaintiffs’ claims—claim-by-claim—and

   excised from this case Plaintiffs’ causes of action that fall within the scope of the domestic

   relations exception. 36 But the Court did.



           36
             For example, as to Defendants’ concern that Plaintiffs “ask this Court to declare Baby
   Doe’s adoption invalid and to declare that the state court did not have jurisdiction to enter that
   order,” Dkt. 101 at 19, that has little salience at present, as the Court has held that Plaintiffs’
   requests for declaratory relief similarly fell within the domestic relations exception.

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          And as to Plaintiffs’ remaining claims, Defendants have not shown that the

   “extraordinary” requirements of Burford abstention have been met. Far from it. No one has

   explained, much less demonstrated, how resolving any of the remaining state-law causes of

   action (fraud, conspiracy, and intentional infliction of emotional distress)—generally applicable,

   common-law torts not dependent on a prior or present family relationship—would pose “difficult

   questions of state law bearing on policy problems of substantial public import whose importance

   transcends the result in the case at bar.” See Martin, 499 F.3d at 363. 37

          Nor have Defendants shown how “the exercise of federal review of the question in a case

   and in similar cases would be disruptive of state efforts to establish a coherent policy with

   respect to a matter of substantial public concern.” See id.

          Defendants’ arguments suggesting that “this parallel proceeding risks upending the

   [Virginia] Court proceeding,” and that Plaintiffs have asked for a declaration that the Virginia

   adoption order is invalid, are likewise untethered from Plaintiffs’ narrowed case. See Dkt. 101

   at 19. Plaintiffs do not dispute that adoption is a “core state power.” See id. And Plaintiffs’

   Amended Complaint simply does not “ask this Court to decide child custody,” or “challeng[e]

   Virginia’s rules and procedures governing adoption.” See Dkt. 113 at 12–13. And, to the extent

   thorny issues concerning the underlying adoption have been raised and are being addressed in the

   Virginia courts—they do not appear necessary to the resolution of any of the three tort claims for

   money damages remaining in this federal case. 38


          37
             The Court finds significant that Defendants’ arguments supporting the first Burford
   element focus on Plaintiffs’ tortious interference with parental rights and false imprisonment
   claims. See Dkt. 126 at 12–13. Again, the Court has already ruled that those claims fall within
   the domestic relations exception.
          38
             Plaintiffs further argue that, “as it relates to Baby Doe’s adoption … a decision by the
   United States government in its exercise of its exclusive authority over foreign affairs – to
   accede to a request by a foreign government to recognize a child as a citizen of that foreign
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          Simply put, Defendants have not shown that either of the two requirements of Burford

   abstention are satisfied. All indications are that Plaintiffs’ remaining tort claims for money

   damages can go forward independently of the Virginia proceedings. At bottom, Defendants have

   not shown that this is one of those “rare” cases in which Burford abstention is warranted. See

   Quackenbush, 517 U.S. at 728.

          3.      Colorado River Abstention

          The Court next considers Defendants’ further argument that abstention is appropriate

   under the Colorado River doctrine. Again, Plaintiffs disagree, arguing that the Court should not

   abstain.

          “The rule is well recognized that the pendency of an action in the state court is no bar to

   proceedings concerning the same subject matter in the Federal court having jurisdiction.”

   vonRosenberg v. Lawrence, 849 F.3d 163, 167 (4th Cir. 2017) (quoting McClellan v. Carland,

   217 U.S. 268, 282 (1910)). A federal court may abstain, however, from exercising jurisdiction

   over a duplicative federal action for purposes of “wise judicial administration,” only if there

   “exist ‘exceptional’ circumstances, the ‘clearest of justifications,’ that can suffice under




   country and to transfer her physical custody to individuals that foreign government deemed her
   legal guardians under that country’s laws – cannot be contravened by a decision of any state
   court (whether in Virginia or in any other state). This is not a question of state law – it is a
   question of federal law, pursuant to the Supremacy Clause.” Dkt. 113 at 13. Plaintiffs have
   raised and no doubt will continue to raise these arguments in the Virginia courts challenging the
   Masts’ adoption of Baby Doe, and in support of their own claim to custody over her. See A.A. v.
   J.M. Slip Op. at 21–22 n.24; cf. Employers Res. Mgmt. Co., Inc. v. Shannon, 66 F.3d 1126, 1130
   (4th Cir. 1995) (quoting Chick Kam Choo v. Exxon Corp., 486 U.S. 140, 149–50 (1988))
   (explaining that, “when a state proceeding presents a federal issue, even a pre-emption issue, the
   proper course is to seek resolution of that issue by the state court”). They predominantly if not
   entirely concern issues of adoption not before this Court, and so do not support Defendants’
   argument that the first Burford element supports abstention.

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   Colorado River to justify the surrender of that [federal] jurisdiction.” vonRosenberg, 849 F.3d at

   167 (quoting Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 25–26 (1983)).

          A court considering whether abstention is appropriate under Colorado River must first

   address the “threshold question” whether “there are parallel suits.” Al-Abood ex rel. Al-Abood v.

   El-Shamari, 217 F.3d 225, 232 (4th Cir. 2000). “Federal and state actions are parallel only ‘if

   substantially the same parties litigate substantially the same issues in different forums.’”

   vonRosenberg, 849 F.3d at 168 (quoting New Beckley Min. Corp. v. Int’l Union, United Mine

   Workers of Am., 946 F.2d 1072, 1073 (4th Cir. 1991)). But, significantly, the state litigation

   “must provide ‘complete and prompt resolution of the issues between the parties,’” and if there is

   “any serious doubt” the state might not do so, “abstention is improper.” vonRosenberg, 849 F.3d

   at 168 (quoting Moses H. Cone, 460 U.S. at 28). Accordingly, the “requirement of parallel

   federal and state suits” has been “strictly construed,” meaning that (1) “the parties involved

   [must] be almost identical,” and further, (2) “even state and federal claims arising out of the

   same factual circumstances do not qualify as parallel if they differ in scope or involve different

   remedies.” Id. at 168.

          To be sure, there is certainly some factual overlap between this case and the one still

   pending in the Virginia courts. But that alone does not warrant Colorado River abstention. See

   New Beckley Min. Corp., 946 F.2d at 1074. The parties are not identical. In the Virginia

   proceeding, Plaintiffs John and Jane Doe have brought suit only against Joshua and Stephanie

   Mast. See, e.g., Dkt. 113 at 18. Of course, they are parties in this federal suit, but so too are

   several others that Plaintiffs have alleged are implicated in the Masts’ scheme: Richard Mast,

   Ahmad Osmani, and Kimberly Motley. See Am. Compl. The proceedings are not parallel then




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   because the parties involved must be—and are not—“almost identical.” See vonRosenberg, 849

   F.3d at 168.

          In addition, the underlying relief sought, and the legal issues presented, are entirely

   different. In the Virginia suit, Plaintiffs have sought “only vacatur of the Adoption Order.” See

   Dkt. 113 at 18. Meanwhile, this proceeding involves Plaintiffs’ tort claims in which they seek

   money damages against Defendants. See Am. Compl. at pp. 44–46 (Prayer). No pending state

   court proceeding involves the tort claims presently before the Court; moreover, money damages

   will not be awarded in state court. Dkt. 113 at 18; cf. Dkt. 126 at 15 (arguing that “[a]sking for

   damages and using artful pleading … is not enough to allow this case to continue”).

          Therefore, because the state and federal lawsuits involve materially different parties,

   different claims, and different remedies and relief sought, they are not “parallel proceeding[s],”

   within the meaning of the Colorado River abstention doctrine. 39 Thus, Colorado River abstention

   is improper. See vonRosenberg, 849 F.3d at 168; McLaughlin, 955 F.2d at 935 (“before even

   considering the Colorado River factors, it is first necessary to determine whether there exist

   parallel duplicative state proceedings”).

          While the Court’s decision can, and does, rest on the lack of a parallel proceeding,

   abstention would be no more appropriate following consideration of the non-exclusive Colorado


          39
              See McLaughlin v. United Va. Bank, 955 F.2d 930, 935 (4th Cir. 1992) (holding that
   federal and state proceedings were not parallel under Colorado River because a breach of
   contract claim in a federal court “was not pending, nor [was] it ever [ ] pending, in any state
   court proceeding”); Mulugeta v. Adamachew, No. 1:17-cv-649, 2018 WL 4365569, at *4 (E.D.
   Va. Feb. 19, 2018) (“Actions are not considered parallel if they raise different issues or seek
   different remedies.”); Brown-Thomas v. Hynie, 441 F. Supp. 3d 180, 217–18 (D.S.C. 2019)
   (holding, in case where “ongoing in litigation in the state courts is confined to determinations
   about the spousal status of [d]efendant Hynie and the administration of probate assets,” and in
   federal suit where the plaintiffs brought “a copyright claim and various state law claims,” that
   “Colorado River abstention is not appropriate because the state and federal suits are not
   parallel”).

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   River factors. 40 The parties agree that the first two are inapplicable, as this case does not involve

   property and the federal and state courts are in the same geographic vicinity. See Dkt. 101 at 20;

   Dkt. 113 at 19. But the third factor—the desirability of avoiding piecemeal litigation—does not

   favor abstention because, as described above, the issues, claims, and relief sought in the federal

   and state suits is different. As Plaintiffs argue, “the issues in the [Virginia courts] relate to

   whether the final adoption order was void at the time it was entered, while the issues here relate

   to the conspirators’ concurrent and subsequent actions using that order to harm Plaintiffs.” See

   Dkt. 113 at 19. There is, accordingly, no “piecemeal litigation” raised by Plaintiffs’ prosecution

   of each case. See Gannet Co., Inc. v. Clark Constr. Grp., Inc., 286 F.3d 737, 744 (4th Cir. 2002)

   (“Piecemeal litigation occurs when different tribunals consider the same issue, thereby

   duplicating efforts and possibly reaching different results.”) (citation omitted).

           As to the fourth factor—the relevant order in which the courts obtained jurisdiction—it is

   undisputed that the Virginia proceedings preceded the filing of this action. See Dkt. 101 at 20;

   Dkt. 113 at 19. And as to the fifth factor—whether state or federal law provides the rule of

   decision on the merits—Plaintiffs have brought only state-law claims. That supplies at least a

   state-law rule of decision as to the merits of those claims. 41 As a result, these two factors would




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              These non-exhaustive factors are: “(1) whether the subject matter of the litigation
   involves property where the first court may assume in rem jurisdiction to the exclusion of others;
   (2) whether the federal forum is an inconvenient one; (3) the desirability of avoiding piecemeal
   litigation; (4) the relevant order in which the courts obtained jurisdiction and the progress
   achieved in each action; (5) whether state or federal law provides the rule of decision on the
   merits; and (6) the adequacy of the state proceeding to protect the parties’ rights.” Chase Brexton
   Health Servs., Inc., 411 F.3d at 463–64 (citations omitted).
           41
             This is not to say that federal law and the decision of Executive Branch authorities
   could not inform the factual underpinnings of the remaining state-law tort claims. In any event,
   their import in this proceeding would be limited to the success of the state-law tort claims; not
   the propriety of the adoption and custody determinations.

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   weigh to an extent in favor of abstention, although that is counterbalanced by the material

   differences between the proceedings: namely, the parties, claims raised, and the relief sought

   therein. Finally, the sixth factor—the adequacy of the state proceeding to protect the parties’

   rights—weights significantly against abstention, as there is no dispute Plaintiffs could not secure

   money damages as redress for their tort claims against Defendant in the ongoing challenge to the

   Baby Doe adoption proceeding in Fluvanna County Circuit Court.

           On balance, the Court finds that these factors, and any other related issues raised by the

   parties, weigh decisively against abstention. “Abstention from the exercise of federal jurisdiction

   is the exception, not the rule.” Colorado River, 424 U.S. at 813. Exceptional circumstances must

   support abstention, vonRosenberg, 849 F.3d at 167, and Defendants have not shown such

   exceptional circumstances, nor justifications that clearly support relinquishing federal

   jurisdiction. The Court finds Colorado River abstention unjustified.

           4.      Standing to Assert Claims on Behalf of Baby Doe

           The parties next dispute whether Plaintiffs John and Jane Doe have standing to assert

   claims on Baby Doe’s behalf. In Defendants’ view, Plaintiffs do not have standing to assert

   claims on her behalf because “Baby Doe is legally and physically under the care of the Masts,”

   and as such, they argue, only they “have standing to bring claims on Baby Doe’s behalf.”

   Dkt. 101 at 10. They further argue that the Virginia Adoption Order is entitled to “full faith and

   credit,” and as such, “precludes [Plaintiffs’] attempt to bring claims on Baby Doe’s behalf, even

   if their allegations of a biological relationship were true.” Id. at 11.

           Plaintiffs, for their part, countered at oral argument that they had satisfied the

   prerequisites for “next friend” standing. See Dkt. 167 (“MTD Hr’g Tr.”) at 55. These included

   that they provided an “adequate explanation as to why the real party in interest cannot bring this


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   suit [herself],” and that they are “dedicated to representing [her] interest[s],” and that they have a

   “significant relationship with the representative party.” Id. Plaintiffs argue that they meet those

   factors: Baby Doe is a minor; they are dedicated to representing her interest; and that “[t]he U.S.

   government recognizes them as her family and legal guardians,” as set forth in paragraph 10 to

   the Government’s answer. Id. And further, they contend that “the state court has acknowledged

   that [Plaintiffs] have a constitutionally protected relationship with Baby Doe.” Id. Finally, they

   argue that “[t]here is no requirement that [a] next friend be a parent or a guardian ad litem,” and

   that Fed. R. Civ. P. 17 and Va. Code § 8,01-8, “to the extent it applies in federal court at all,”

   have no such requirement either. MTD Hr’g Tr. at 55–56.

          The problem with Plaintiffs’ position is that Fed. R. Civ. P. 17(c) “distinguishes between

   a guardian or other duly appointed representative, on the one hand—in other words, a general

   representative—and a guardian ad litem or a next friend, on the other hand—a special

   representative.” Jonathan R. v. Justice, 688 F. Supp. 3d 355, 358 (S.D. W. Va. 2023) (citing

   T.W. by Enk v. Brophy, 124 F.3d 893, 895 (7th Cir. 1997)). And, significantly, “[a] special

   representative is only appropriate where the minor lacks a conflict-free general representative

   who is willing and able to litigate on their behalf.” Jonathan R., 688 F. Supp. 3d at 358. Pursuant

   to Rule 17(c), certain types of representatives “may sue or defend on behalf of a minor,”

   including “a general guardian.” However, if the minor “does not have a duly appointed

   representative,” the minor then “may sue by a next friend or by a guardian ad litem.” Fed. R.

   Civ. P. 17(c)(1), (2). Thus, only if there is no “general guardian” may the minor sue by a next

   friend. See Genesco, Inc. v. Cone Mills Corp., 604 F.2d 281, 285 (4th Cir. 1979) (“[b]y is terms,

   the second sentence of Rule 17(c) permits an infant who lacks a general guardian to bring suit by

   his next friend, and no special appointment process for the next friend is required”); Jonathan R.,


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   688 F. Supp. 3d at 380 (“Without general guardians, the plaintiffs were permitted under the

   Federal Rules to commence this lawsuit by next friends ….”). And, important here, being a

   parent usually qualifies an individual to be a “general guardian” who may act on behalf of a

   minor without formal court appointment. E.g., Epic Games, Inc. v. C.B., No. 5:19-cv-250, 2019

   WL 8334611, at *1 (E.D.N.C. Sept. 27, 2019) (citing authorities).

          While Plaintiffs argue that they meet the three-part test to qualify for “next friend” status

   for Baby Doe under Rule 17, see MTD Hr’g Tr. at 55–56, a prerequisite inquiry would be

   whether there is a “general guardian,” including a parent, who could sue on her behalf. Thus,

   inherent in the issue whether Plaintiffs have standing to sue on behalf of Baby Doe, is the

   validity of and status of the Virginia adoption and custody orders. These outstanding issues at

   this time remain substantially intertwined with the pending proceedings in the Virginia courts.

   Thus, allowing Plaintiffs’ asserted claims on behalf of Baby Doe would, at present, appear to

   require “the adjustment of family status or establishing familial duties,” or that the Court

   “determin[e] the existence of a breach of such duties,” and accordingly, would fall within the

   scope of the domestic relations exception. See Raftery, 756 F.2d at 338. That is not to say that

   Baby Doe would not be able to recover for any claims she may have personally, only that such

   claims may not be brought at this time by Plaintiffs on her behalf.

          As with Plaintiffs’ other claims that fell within the scope of the exception, the Court will

   dismiss all of the claims brought on behalf of Baby Doe, without prejudice to her re-raising them

   upon conclusion of the Virginia proceedings.

          5.      Diversity Jurisdiction

          Richard Mast alone argues that complete diversity is lacking between the parties. Dkt. 99

   at 10. In his view, Baby Doe is a resident of North Carolina where she has resided with the Masts


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   and thus there is a lack of complete diversity because one Plaintiff, i.e., Baby Doe, is a citizen of

   North Carolina, where at least one Defendant, Kimberly Motley, is a citizen. Id. at 10–11.

          This argument fails, and there is complete diversity between the parties. Baby Doe is

   alleged to be and is properly considered a citizen of Afghanistan. Am. Compl. ¶ 11. Plaintiffs

   have alleged in great detail how they did not knowingly or willingly relinquish their custody and

   care of Baby Doe to the Masts, but rather that Defendants orchestrated a scheme to abduct Baby

   Doe. See generally Am. Compl. ¶¶ 83–153; see also id. ¶¶ 134–39 (describing abduction). As

   Plaintiffs note and further allege, the Masts themselves procured a passport for Baby Doe

   identifying her as an Afghan citizen. Id. ¶ 130. Plaintiffs have also alleged facts demonstrating

   that Baby Doe was domiciled in Afghanistan when the Masts tricked John and Jane Doe into

   bringing Baby Doe to the United States so that she could receive specialized medical treatment

   that was not available in the Does’ home country. Id. ¶¶ 1, 3, 11, 22, 48, 56–61, 70–74. They had

   always intended to return home to Afghanistan as a family—that is, until the Masts abducted

   Baby Doe from them when they got to Virginia. Id. ¶¶ 105–07. Plaintiffs have accordingly

   demonstrated that Baby Doe retained her Afghan citizenship for purposes of diversity

   jurisdiction. See Dkt. 113 at 21–22 (citing, e.g., Delaware, L. & W.R. Co. v. Petrowsky, 251 F.

   554, 559 (2d Cir. 1918) (cited for the proposition that “if parental responsibility has been held by

   multiple parties in succession, whether the child’s citizenship follows the current parties

   purporting to stand in place of the parents turns on whether such responsibility was knowingly

   and intentionally delegated by the former guardian”)). As Plaintiffs are themselves citizens of

   Afghanistan, and currently residents of Texas, and Baby Doe is also a citizen of Afghanistan,

   Am. Compl. ¶¶ 11–16, there is complete diversity between the citizenship of Plaintiffs and the

   Defendants, none of whom are citizens of Afghanistan or Texas. In any event, the Court will


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   dismiss, without prejudice, all claims brought on Baby Doe’s behalf for the reasons set forth

   above.

                                         Personal Jurisdiction

            Two Defendants, Kimberly Motley and Ahmad Osmani, argue that Plaintiffs’ claims

   against them should be dismissed for lack of personal jurisdiction. See Dkt. 91 at 10–19; Dkt. 93

   at 6–10. For the reasons set forth below, the Court concludes that the exercise of personal

   jurisdiction over these out-of-state Defendants is constitutionally reasonable, and so their

   motions to dismiss for lack of personal jurisdiction will be denied.

            A federal court may exercise personal jurisdiction over a defendant as provided by state

   law. Fed. R. Civ. P. 4(k)(1)(A); ALS Scan, Inc. v. Dig. Serv. Consultants, 293 F.3d 707, 710 (4th

   Cir. 2002). To establish personal jurisdiction over a non-resident defendant pursuant to a state

   long-arm statute, two requirements must be satisfied: (1) the forum state’s long-arm statute must

   authorize the exercise of jurisdiction; and (2) if that authorization exists, the Due Process Clause

   of the Fourteenth Amendment requires that the defendant must have sufficient minimum

   contacts with the forum state. CFA Inst. v. Inst. of Chartered Fin. Analysts of India, 551 F.3d

   285, 292 (4th Cir. 2009). Here, because Virginia’s long-arm statute (Va. Code § 8.01-328.1)

   extends personal jurisdiction over non-resident defendants to the full extent permitted by the Due

   Process Clause of the Fourteenth Amendment, these inquiries collapse into one, and the federal

   court must simply ascertain whether the non-resident defendant had sufficient “minimum

   contacts” with Virginia to satisfy due process. Id.; see also ALS Scan, 293 F.3d at 710

   (explaining that, under such circumstances, “the statutory inquiry necessarily merges with the

   constitutional inquiry, and the two inquiries essentially become one”).




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          For a State to exercise personal jurisdiction over a nonresident in a manner compliant

   with the Fourteenth Amendment Due Process Clause, a “nonresident generally must have

   ‘certain minimum contacts … such that the maintenance of the suit does not offend ‘traditional

   notions of fair play and substantial justice.’” Walden v. Fiore, 571 U.S. 277, 284 (2014) (quoting

   Int’l Shoe Co. v. Washington, 326 U.S. 310, 316 (1945) (internal quotation marks omitted)). To

   assert “specific jurisdiction” over a defendant, the Court considers whether “the defendant’s

   qualifying contacts with the forum state also constitute the basis for the suit.” Universal Leather,

   773 F.3d at 559. 42 Generally then, the Fourth Circuit has distilled the due process requirements

   into a three-prong test, asking: “(1) the extent to which the defendant purposefully availed itself

   of the privilege of conducting activities in the forum state; (2) whether the plaintiff’s claims

   [arose] out of those activities directed at the State; and (3) whether the exercise of personal

   jurisdiction would be constitutionally reasonable.” dmarcian, Inc. v. dmarcian Europe BV, 60

   F.4th 119, 133 (4th Cir. 2023) (quoting UMG Recordings, Inc. v. Kurbanov, 963 F.3d 344, 354

   (4th Cir. 2020)). In any event, however, the “touchstone” of the personal jurisdiction analysis is

   “fairness.” Universal Leather, 773 F.3d at 559.

          1. Motley & Osmani Fall Within Virginia’s Long-Arm Statute

          Motley and Osmani first argue that the allegations in the Amended Complaint do not

   satisfy Virginia’s long-arm statute. Dkt. 91 at 11–13; Dkt. 93 at 7–9. The statute permits the

   exercise of personal jurisdiction “over a person, who acts directly or by an agent, as to a cause of

   action arising from the person’s … [t]ransacting any business in this Commonwealth.” Va. Code


          42
            A defendant is subject to general jurisdiction in a state if it is their domicile or they are
   otherwise essentially at home in the state. Ford Motor Co. v. Montana Eighth Jud. Dist. Ct., 592
   U.S. 351, 358–59 (2021). Here, however, no party contends that Motley or Osmani are subject to
   general personal jurisdiction in Virginia. Dkt. 91 at 12; Dkt. 113 at 26–32 (arguing only that the
   Court has specific personal jurisdiction over them).

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   § 8.01-328.1(A)(1). Motley contends that the Amended Complaint fails to state what “business”

   she conducted in Virginia or what acts or omissions she performed in Virginia. Dkt. 91 at 11–12.

   Moreover, she claims that “mere emails and telephone calls directed at Virginia do not amount to

   transacting business.” Id. at 12 (internal quotation marks omitted). For his part, Osmani contends

   that “he does not regularly transact any business in Virginia,” and “certainly has not transacted

   any business in Virginia that would give rise to any cause of action for Plaintiffs.” Dkt. 93 at 8.

   At most, he attests that he has “only the most tangential of connections to Virginia,” including “a

   few trips to Dulles Airport and to testify in court.” Id. Osmani charges that Plaintiffs’ complaint

   improperly relies on “very nebulous conspiracy theories that lack any location or other concrete

   details,” of which he denies being a party. Id. at 8–9. None of this, in Osmani’s view, supports a

   basis for personal jurisdiction under Virginia’s long-arm statute.

          Plaintiffs respond that Motley’s argument misses the mark, as “[t]he relevant inquiry is

   the constitutional question of whether the exercise of jurisdiction comports with the Due Process

   Clause.” Dkt. 113 at 28. Plaintiffs assert that there is no problem on that score—as the Court’s

   exercise of personal jurisdiction “would not offend traditional notions of fair play or substantial

   justice.” Id. Further, Plaintiffs distinguish the authority cited by Motley. They argue that while

   merely “negotiating the terms of a transaction could not be considered ‘transacting business,’”

   here “Motley’s correspondence with Virginia-resident Joshua Mast was the business that Motley

   conducted,” receiving communications to convey to Plaintiffs; then providing updates and

   photographs to Joshua Mast “as per their agreement.” Id. at 28 n.17. In other words, Plaintiffs’

   claims against Motley “arise out of her communications with and collaboration with Joshua

   Mast,” and therefore she was “transacting business” within the meaning of Va. Code § 8.01-

   328.1(A)(1). Id.


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          As for Osmani, Plaintiffs similarly counter that their allegations against him (even taking

   into account his own narrative included in his declaration), more than suffice to satisfy Virginia’s

   long-arm statute. Dkt. 113 at 30–31. Plaintiffs argue that the allegations that Osmani entered into

   a conspiracy with the Masts and others were far from “threadbare” or “nebulous,” and that

   personal jurisdiction is supported by his voluntary travel to Virginia to testify in a Virginia state

   court related proceeding concerning the custody of Baby Doe. Id.

          The Court is mindful that Virginia’s long-arm statute has been interpreted coextensively

   with the full extent of the Due Process Clause, such that the statutory and constitutional personal

   jurisdiction inquiry could be collapsed into one analysis. English & Smith v. Metzger, 901 F.2d

   36, 38 (4th Cir. 1990); Tire Eng’g & Distrib., LLC v. Shandong Linglong Rubber Co., 682 F.3d

   292, 301 (4th Cir. 2012). Indeed, even “a single act by a nonresident which amounts to

   ‘transacting business’ in Virginia” can support specific personal jurisdiction. English & Smith,

   901 F.2d at 38. Nonetheless, as the parties have separately disputed whether Defendants’ conduct

   falls within the language of Virginia’s long-arm statute, the Court will proceed to address that

   statutory question first. E.g., English & Smith, 901 F.2d at 38–40 (proceeding in two-step

   analysis).

          The Court finds that Virginia’s long-arm statute permits the exercise of personal

   jurisdiction over Motley, as Plaintiffs’ claims against her arise from her “transacting any

   business” in Virginia. Va. Code § 8.01-328.1(A)(1). Plaintiffs have alleged that a Virginia couple

   (the Masts) engaged Motley’s services as a lawyer with contacts in Afghanistan to help them

   search for and communicate with Plaintiffs, to lure Plaintiffs and Baby Doe from Afghanistan to

   the United States and Virginia in particular (where the Masts already had custody and adoption




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   orders) under the guise of offering medical care—but really so the Masts could abduct Baby

   Doe. See Am. Compl. ¶¶ 6, 7, 15, 75, 76, 79, 81. 43

          Indeed, the day after this Court denied the Masts’ TRO request and Baby Doe was

   released to the Afghan Government and the ICRC to be reunited with her family, Joshua Mast

   advised Motley that he needed help to “handle [Baby Doe’s] situation privately” to execute that

   scheme. Id. ¶ 79. Motley agreed to work with the Masts. Id. ¶ 81. She had received and was

   aware of the Masts’ JDR Court order, which was conditioned on a waiver of Afghan jurisdiction,

   and she also received diplomatic communications from Afghanistan showing they were asserting

   (rather than waiving) jurisdiction over Baby Doe. Id. ¶ 80. As a result, Plaintiffs further allege

   that Motley knew the JDR Court order was “void.” Id.

          As part of this work, Motley initiated contact with Plaintiffs by phone within days after

   Baby Doe was placed in their care. Id. ¶ 83. Motley then maintained a correspondence with

   Plaintiffs for over a year—during which time she “ma[de] multiple offers to assist with Baby

   Doe’s medical care and occasionally asking for photographs of Baby Doe,” which she did “at the

   direction of [the Masts] and received thousands of dollars to do so.” Id. ¶ 88. In fact, Joshua Mast

   wired Motley a $4,500 payment via the electronic payments app, PayPal, on March 22, 2020. Id.

   ¶ 87. Allegedly, Motley’s dogged efforts allegedly not only seeded Plaintiffs’ opinions of the

   Masts as well-meaning individuals only seeking to help Baby Doe get medical care, id. ¶¶ 83–

   85, 88–89, but they also culminated in a direct line of contact opening up between Plaintiffs and

   the Masts, id. ¶ 98. Moreover, in response to a request by Motley, Plaintiffs sent her a



          43
              See, e.g., Am. Compl. ¶ 76 (“In the fall of 2019, Joshua Mast and Stephanie Mast
   reached out to Kimberly Motley, a U.S. citizen and attorney who had worked in Afghanistan, to
   assist in their efforts to bring Baby Doe to the United States … [Joshua Mast] advised Motley
   that he and Stephanie Mast intended to adopt Baby Doe.”).

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   photograph of Baby Doe in swimming trunks—the same photo that was used in modified form

   by the Masts to procure a fake Afghan passport for Baby Doe. Id. ¶¶ 90, 95–96, 127; see also

   Dkt. 91 at 12–13 (contending that Motley’s “only alleged suit related conduct involved her

   correspondence with the Does and with Joshua Mast”).

          These allegations show that Motley certainly was “transacting business” in Virginia by

   agreeing to work on behalf of Virginia citizens (the Masts) to support their efforts to bring Baby

   Doe out of Afghanistan, under the guise of offering her medical care, and into the Masts’ care

   under the authority of Virginia custody and adoption orders. The Masts paid her thousands for

   her work. Much more than a “single act” here connects Motley to Virginia—rather, Plaintiffs’

   allegations are that she engaged in a sustained course of conduct offering her services to Virginia

   residents and getting paid to help them realize their scheme.

          While Motley contends that her phone calls and other communications do not support the

   exercise of personal jurisdiction, Dkt. 91 at 12–13, her authority is distinguishable. While courts

   have held that “[m]ere telephone conversations, telex messages and letters negotiating a

   transaction are insufficient to form a basis for in personam jurisdiction,” Unidyne Corp. v.

   Aerolineas Argentinas, 590 F. Supp. 391, 396 (E.D. Va. Mar. 7, 1984) (emphasis in original),

   here, Motley’s material communications were the services rendered pursuant to an agreement

   with the Virginia-based Masts (and for which she received thousands in compensation), Am.

   Compl. ¶¶ 81–90. They were not simply communications preceding or negotiating a transaction.

   Motley’s other authority is no more helpful. 44 Plaintiffs’ specific and detailed allegations more




          44
              Other cases involved facts in which the communications to Virginia were more
   incidental to the claims at issue. See, e.g., Nathan v. Takeda Pharms. Am. Inc., 83 Va. Cir. 216,
   2011 WL 8947650, at *8–9 (Va. Cir. Aug. 2, 2012) (holding that “mere emails and telephone
   calls directed at Virginia do not amount to transacting business in Virginia,” in a case in which
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   than establish that Motley was “transacting business” in Virginia, and therefore fell within the

   purview of Virginia’s long-arm statute. 45

          Plaintiffs’ allegations also establish that Osmani transacted business in Virginia, and thus

   falls within the ambit of Virginia’s long-arm statute. Plaintiffs’ allegations are far from

   “threadbare.” See Dkt. 93 at 7. To the contrary, “concrete details” are abundant, see id. at 9,

   including that Osmani met Joshua Mast “in 2021 through a WhatsApp Bible study group,” in

   which he “offered to help [the Masts] bring Baby Doe to the United States so that they may raise

   her as their daughter,” Am. Compl. ¶ 94; Osmani agreed to help the Masts “obtain[ ] a fake

   Afghan passport for Baby Doe,” id. ¶ 96; the Masts sent Osmani an altered photo of Baby Doe

   they had received from Motley, for him to use in procuring the fake Afghan passport, id. ¶ 95,

   the Masts wired over $1,000 to Osmani, who “wired those funds to a contact in Afghanistan to

   pay for the procurement of the fake Afghan passport with a fake Americanized name that

   featured the Mast’s last name,” id.; and that Osmani served as a translator for numerous

   conversations between the Masts and Plaintiffs, e.g., id. ¶¶ 98, 102, as well as maintained

   separate correspondence directly with Plaintiffs in which he perpetuated the falsehood that the

   Masts only were interested in providing Baby Doe medical care, when in fact they wanted to

   raise Baby Doe themselves, id. ¶¶ 94, 97, 102–04.




   the plaintiff traveled to Chicago to meet with a defendant training manager, who produced a
   report which was then emailed to Plaintiff and others in Virginia).
          45
             In any event, the Court is mindful that Virginia’s long-arm statute has been interpreted
   such that the exercise of jurisdiction mirrors the limits of the Due Process Clause. Peanut Corp.
   of Am. v. Hollywood Brands, Inc., 696 F.2d 311, 313 (4th Cir. 1982) (describing the statutory
   long-arm statute analysis as “interrelated” with the constitutional inquiry, given that the Virginia
   statute “has been construed to extend in personam jurisdiction to the outermost perimeters of due
   process”). And, for the reasons that follow, the exercise of jurisdiction over Motley is consistent
   with the constitutional limitations.

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          To be sure, Osmani’s declaration challenging the exercise of personal jurisdiction states

   as a general matter that he has never lived in Virginia, does not own any property in Virginia and

   does not “operate any form of business or other such enterprise in [Virginia].” Dkt. 92-1 ¶ 4

   (“Osmani Decl.”). He also attests, in a conclusory manner, that any allegation he “ha[d] been

   engaged in any form of conspiracy to abduct [Baby Doe] is entirely and categorically false.” Id.

   ¶ 6. But Osmani in his declaration does not squarely dispute any of the specific supporting facts

   alleged by Plaintiffs in their complaint, which at this stage of the litigation must be presumed to

   be true and all reasonable inferences drawn in their favor. See New Wellington Fin. Corp. v.

   Flagship Resort Dev. Corp., 416 F.3d 290, 294 (4th Cir. 2005); Grayson v. Anderson, 816 F.3d

   262, 267–68 (4th Cir. 2016). 46 Like the allegations concerning Motley, Plaintiffs’ allegations

   concerning Osmani’s conduct more than demonstrate that he transacted business in Virginia such

   that he falls within the ambit of Virginia’s long-arm statute. 47




           46
              Plaintiffs also argue that Osmani’s travel to testify in legal proceedings pending in
   Virginia state court between Plaintiffs and the Masts would only further support the exercise of
   personal jurisdiction here. Osmani Decl. ¶ 5; Dkt. 167 at 59 (“MTD Hr’g Tr.”) (arguing that
   Osmani first came to Virginia in May 2022 to testify voluntarily); Dkt. 164 (subpoena, filed
   under seal, as to October 2022 testimony). The Court need not rely on that argument to conclude
   that Osmani was subject to the Virginia long-arm statute or that the assertion of specific personal
   jurisdiction over Osmani satisfied Due Process considerations.
           47
             Since the Court determines that Motley and Osmani’s alleged conduct qualifies as the
   transaction of business in Virginia under Va. Code § 8.01-328.1, the Court need not further rule
   on Plaintiffs’ alternative argument that Virginia’s long-arm statute was satisfied because Motley
   and Osmani were “causing tortious injury by an act or omission” in Virginia. Am. Compl. ¶ 20.
   But see DeSantis v. Hafner Creations, Inc., 949 F. Supp. 419, 425–26 (E.D. Va. 1996) (“This
   provision requires that an out-of-state defendant be physically present in Virginia when
   committing the act or omission giving rise to the tort at issue.”); People Exp. Airlines, Inc. v. 200
   Kelsey Assocs., LLC, 922 F. Supp. 2d 536, 545 (E.D. Va. 2013) (explaining that, “to subject a
   nonresident to personal jurisdiction in Virginia pursuant to § 8.01-328(A)(3), [plaintiff] must
   allege that one essential act of the alleged tort occurred in Virginia”).

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           2. Motley & Osmani’s Participation in Conspiracy Supports Imputing Co-Conspirators’
              Contacts with Virginia and Confers Personal Jurisdiction

          Next, the Court considers whether Motley and Osmani are subject to specific personal

   jurisdiction consistent with the Due Process Clause, such that they “should reasonably anticipate

   being haled into court” in Virginia on account of their suit-related conduct and connection with

   the forum state. See Burger King Corp. v. Rudzewicz, 471 U.S. 462, 474–75 (1985). In this case,

   Plaintiffs allege and contend that Motley and Osmani are subject to specific jurisdiction on

   account of their involvement in a conspiracy with the Masts and others, by which those co-

   defendants’ suit-related contacts can be imputed to Motley and Osmani. Am. Compl. ¶ 20.

          Conspiracy jurisdiction imputes to a nonresident defendant constitutionally significant

   contacts with Virginia “through the actions of their alleged coconspirators.” Unspam Techs., Inc.

   v. Chernuk, 716 F.3d 322, 329 (4th Cir. 2013). To establish “conspiracy jurisdiction,” Plaintiffs

   “would have to make a plausible claim (1) that a conspiracy existed; (2) that the [defendant]

   participated in the conspiracy; and (3) that a coconspirator’s activities in furtherance of the

   conspiracy had sufficient contacts with Virginia to subject that conspirator to jurisdiction in

   Virginia.” Id.; accord Lolavar v. de Santibanes, 430 F.3d 221, 229 (4th Cir. 2005) (explaining

   that the Fourth Circuit has “accepted the conspiracy theory as a means of showing sufficient

   contacts with the State of Maryland to authorize in personam jurisdiction”) (citing McLaughlin v.

   McPhail, 707 F.2d 800, 807 (4th Cir. 1983) (per curiam)). And their complaint must include

   more than “bare allegations” to support personal jurisdiction via conspirators’ contacts with the

   forum. Unspam, 716 F.3d at 329 (quoting Lolavar, 430 F.3d at 229).

          At the outset, Motley and Osmani generally argue that conspiracy jurisdiction is no

   longer viable following the Supreme Court’s decision in Walden v. Fiore, 571 U.S. 277 (2014).

   Next, Motley and Osmani each argue that Plaintiffs’ allegations against them fall short of

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   pleading a plausible conspiracy claim and thus fall short of the standard for their coconspirators’

   contacts with Virginia to be imputed to them. The Court disagrees on both counts, and finds that

   their participation in the alleged conspiracy supports the exercise of personal jurisdiction over

   them.

                   a. Conspiracy-Based Contacts with Forum State Are Imputable for Personal
                      Jurisdiction Purposes

           Motley acknowledges, as she must, that “the Fourth Circuit recognized the existence of

   ‘conspiracy jurisdiction’” in Unspam. Dkt. 91 at 16. When, as here, the Fourth Circuit has

   “decide[d] a legal issue in a published opinion, that ruling is binding on all future panels and

   district courts within this circuit unless it is abrogated by the Supreme Court or by an en banc

   decision of [the Fourth Circuit].” Gibbons v. Gibbs, 99 F.4th 211, 213 (4th Cir. 2024). Motley

   identifies no en banc decision of the Fourth Circuit reversing Unspam or the conspiracy theory of

   jurisdiction. Instead, she tries to avoid application of that published and controlling precedent by

   contending that “in Walden, the U.S. Supreme Court rejected the conspiracy-jurisdiction

   doctrine.” Id. However, that contention misconstrues Walden, which simply did not address

   “conspiracy jurisdiction” at all. 48

           To be sure, the Supreme Court in Walden wrote that its “minimum contacts analysis”

   “looks to the defendant’s contacts with the forum State itself, not the defendant’s contacts with

   persons who reside there.” 571 U.S. at 285. And there, the Court also explained that “[d]ue

   process requires that a defendant be haled into court in a forum State based on his own affiliation

   with the State, not based on the ‘random, fortuitous, or attenuated’ contacts he makes by



           48
             Although Osmani, like Motley, contests that the actions of co-conspirators can impute
   contacts with the forum on the basis of Walden, he does not cite let alone attempt to distinguish
   the Fourth Circuit decision in Unspam Technologies. See Dkt. 93 at 10.

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   interacting with other persons affiliated with the State.” Id. at 286. But in Walden, the Supreme

   Court was considering the defendant’s contacts with the plaintiff who was domiciled in the

   forum State and later traveled to and suffered (financial) injury in the forum State, see id. (“the

   plaintiff cannot be the only link between the defendant and the forum”); id. at 279–81—not a

   defendant’s contacts with a co-conspirator, co-defendant, who committed suit-related conduct in

   furtherance of the conspiracy in the forum State that was sufficient to subject that co-conspirator

   to jurisdiction in the forum State. 49 The difference is material. That is because

          when individuals conspire to do something that they could reasonably expect to
          have consequences in a particular forum, if one coconspirator who is subject to
          personal jurisdiction in the forum commits overt acts in furtherance of the
          conspiracy, those acts are attributable to the other co-conspirators, who thus
          become subject to personal jurisdiction even if they have no other contacts with the
          forum.

   St. Paul Fire & Marine Ins. Co. v. Hoskins, No. 5:10-cv-87, 2011 WL 1897683, at *3 (W.D. Va.

   May 18, 2011) (quoting Cline v. Hanby, No. 2:05-cv-885, 2006 WL 3692647, at *7 (S.D. W. Va.

   Dec. 13, 2006)). And contacts between coconspirators in furtherance of the conspiracy are not

   the sort of “random, fortuitous, or attenuated” contacts with “other persons affiliated with the

   State” that the Supreme Court held insufficient to support personal jurisdiction. See Walden, 571

   U.S. at 286. 50 Rather, such contacts between coconspirators that suffice to establish conspiracy

   jurisdiction under Unspam constitute the sort of purposeful conduct by the defendant himself that

   are necessary to establish jurisdiction under Walden, 571 U.S. at 285–86.



           49
             It would be a different situation if an agent or co-conspirator committed acts
   “unilaterally outside the scope of the relationship,” which very well “may not be imputable.”
   Compass Mkt’g, Inc. v. Schering-Plough Corp., 438 F. Supp. 2d 592, 595 n.4 (D. Md. 2006).
           50
             Compare, e.g., World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 295 (1980)
   (holding that “the fortuitous circumstance that a single Audi automobile, sold in New York to
   New York residents, happened to suffer an accident while passing through Oklahoma,” was not
   sufficient to support the exercise of state-court jurisdiction in Oklahoma).

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          Further, Motley recognizes that a number of district courts within the Fourth Circuit

   “continue to consider conspiracy jurisdiction to comport with due process (at least in theory),”

   even after Walden, 51 and she has failed to cite any authority (nor is the Court aware of any)

   within the Fourth Circuit that has accepted her argument that Walden undermined conspiracy

   jurisdiction. Dkt. 91 at 17. Unless and until the Fourth Circuit acting en banc or the Supreme

   Court clearly reject conspiracy jurisdiction, it remains a valid basis to establish specific personal

   jurisdiction under Unspam.

                  b. Plaintiffs’ Allegations Establish Personal Jurisdiction Over Motley

          Motley contends that, even if conspiracy jurisdiction is still valid, Plaintiffs’ allegations

   do not satisfy the Fourth Circuit’s standard set out in Unspam. Dkt. 91 at 18–19. The Court

   disagrees. Indeed, Plaintiffs’ allegations detailing Motley’s role in the alleged conspiracy to

   abduct Baby Doe are factual and specific—nothing at all like the “bare allegations” that fail

   Unspam’s conspiracy jurisdiction standard. See Unspam, 716 F.3d at 329. For instance, in

   Unspam, one of the plaintiffs alleged that his purchase of medications from an online source

   turned out to be a fraudulent transaction as his medications were never delivered, and he alleged

   that the defendants (foreign pharmacists and foreign banks) had “participated in a global Internet

   conspiracy to sell illegal prescriptions” in the United States and Virginia. Id. at 324, 329. Yet



          51
              See, e.g., Galloway v. Martorello, No. 3:19-cv-314, 2023 WL 5183204, at *8–11 (E.D.
   Va. Aug. 11, 2023) (“the Court finds that Due Process is satisfied under the conspiracy theory of
   personal jurisdiction”); Comm’n on Health Care Certification, Inc. v. Fig Servs., Inc., No. 3:22-
   cv-39, 2022 WL 1696019, at *7 (E.D. Va. May 26, 2022) (recognizing continuing viability of
   conspiracy theory of personal jurisdiction, but holding that the elements were not satisfied in that
   case); Coastal Labs, Inc. v. Jolly, 502 F. Supp. 3d 1003, 1020 (D. Md. 2020) (holding that
   “Plaintiffs have also adequately alleged the conspiracy theory of jurisdiction” under Maryland
   law, which constituted “a prima facie showing that exercising personal jurisdiction over
   [Plaintiffs’] claims does not ‘offend traditional notions of fair play and substantial justice’”)
   (citing Int’l Shoe, 326 U.S. at 316).

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   crucially, the plaintiff “acknowledge[d] that he does not know who engaged him in the

   transaction or whether any of the four [defendant] banks processed his Visa charge.” Id. at 329.

   Rather, he “speculate[d] that [his] transaction could well have been” processed through a foreign

   payment application on account of the “frequency with which [the banks] processed such

   transactions.” Id. In other words, the plaintiff’s “speculation about the processing of [his]

   transaction … amount[ed] to no more than a bare allegation or logical possibility,” and there

   were no facts alleged “to show that the defendant banks participated in the alleged conspiracy.”

   Id. at 330. Rather the facts alleged showed, at most, the banks were engaging in “arms-length

   transactions” conducted “in the ordinary course of business.” Id.

          In this case, Motley appears to concede that Plaintiffs have “plausibly allege[d]” that she

   “entered into an agreement” with the Masts in order “to locate Baby Doe and establish contact

   with [Plaintiffs] ….” Dkt. 91 at 18–19. Rather, she claims that Plaintiffs’ allegations at most

   establish that she tried to help the Masts get “medical care” for Baby Doe in the United States.

   Id. at 19. In other words, Motley challenges the second element of conspiracy jurisdiction—that

   Plaintiffs must plead “a plausible claim … that [Motley] participated in the conspiracy” alleged.

   See Unspam, 716 F.3d at 329.

          Plaintiffs have alleged specific, detailed facts that Motley entered into an agreement to

   abduct Baby Doe from Plaintiffs so that the Masts could raise her as their own. For instance, they

   have alleged that “[i]n the fall of 2019,” when the Masts reached out to Motley “to assist in their

   efforts to bring Baby Doe to the United States,” Joshua Mast at that point “advised Motley that

   he and Stephanie Mast intended to adopt Baby Doe.” Am. Compl. ¶ 76. Then, “[o]n February 27,

   2020 … Joshua Mast advised Motley that he needed help to ‘handle [Baby Doe’s] situation

   privately,’ by locating her relatives, contacting them, and then bringing the child out of


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   Afghanistan to the United States, where the Masts had already successfully petitioned a Virginia

   court for legal custody of the child.” Id. ¶ 79. Motley’s knowledge of the plan is further

   supported by the allegation that she had received a copy of the Masts’ Juvenile Court order by

   February 27, 2020, but still “agreed to work with the Masts as they implemented their plan.” Id.

   ¶¶ 80–81; see also, e.g., id. ¶ 6 (“Motley was aware that Joshua and Stephanie Mast had obtained

   the Fraudulent Custody and Adoption Orders for Baby Doe and was aware from the outset that

   Joshua and Stephanie Mast wanted to take physical custody of her in the United States and

   intended to adopt her as their own child.”). So there are more-than-plausible allegations that

   while Motley repeatedly told Plaintiffs John and Jane Doe that the Masts were only trying to

   provide Baby Doe medical care in the United States, Motley was well aware that the Masts

   intended to take custody of Baby Doe when she got to the United States. See, e.g., id. ¶¶ 76–77,

   79–81, 85, 88, 186. And given Motley’s possession of and knowledge of the diplomatic

   correspondence from Afghanistan asserting jurisdiction over Baby Doe rather than waiving it,

   the Amended Complaint includes more-than-plausible allegations that she knew all along that the

   purported legal basis for the Masts’ custody and adoption of Baby Doe was void and without

   legal effect. See, e.g., id. ¶¶ 80–81, 85, 186.

           Nonetheless, despite knowing that the Masts intended to adopt Baby Doe and had

   custody and adoption orders from Virginia courts, id. ¶¶ 6–7, 76–81, Motley proceeded to

   contact Plaintiffs at the Masts’ direction and seek to convince them that the Masts intended only

   to help Baby Doe get medical care in the United States and never advised them of the Masts’

   stated purpose to try to adopt Baby Doe or the custody and adoption orders, id. ¶¶ 8, 83–85, 88–

   89. Further still, in response to Motley’s request for photos of Baby Doe, Plaintiffs sent Motley a

   photo of Baby Doe in her swimming trunks, id. ¶ 90, and the Masts sent a nearly identical photo


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   (“altered to add a shirt, remove the background content, and be reformatted as a passport photo”)

   to Osmani that was used on the fake Afghan passport Osmani procured for Baby Doe. Id. ¶¶ 95–

   96, 127. The Masts also paid Motley $4,500 for her services via PayPal. Id. ¶ 87. Establishing

   contact with Plaintiffs, fostering the relationship between the Masts and Plaintiffs, facilitating

   phone calls between them, misrepresenting the Masts’ purposes as merely seeking to help

   provide Baby Doe medical care, and securing a photo of Baby Doe that Plaintiffs used in her

   fake Afghan passport—combined with specific allegations of Motley’s knowledge and

   agreement to further the Masts’ scheme (based on specific dates and text of communications

   between Motley and the Masts)—collectively more than establish a plausible claim that Motley

   conspired with the Masts to abduct Baby Doe. These allegations are specific and factual and,

   taken as true and drawing all reasonable inferences in Plaintiffs’ favor at this stage of the

   litigation, they more than plead a plausible conspiracy claim against Motley. See Unspam, 716

   F.3d at 329.

          For these reasons, as well as those set forth below in the Court’s holding on the motions

   to dismiss under Rule 12(b)(6) that Plaintiffs have pleaded a plausible conspiracy claim, infra,

   at pp. 83–92, the Court finds that the elements of conspiracy jurisdiction have been established

   as against Motley. See Unspam, 716 F.3d at 329. As a result, Motley’s codefendants’ (and

   especially the Masts’) contacts with Virginia—that are extensive and involve securing numerous

   allegedly fraudulent state court orders and orchestrating Baby Doe’s removal from Plaintiffs’

   physical custody in Virginia, Am. Compl. ¶¶ 49–55, 133–36—are constitutionally sufficient,

   suit-related “minimum contacts” with Virginia that are imputed to Motley. See Unspam, 716

   F.3d at 329. Motley is thus subject to personal jurisdiction in Virginia.




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                  c.   Plaintiffs’ Allegations Establish Personal Jurisdiction Over Osmani

          Osmani briefly argues that Plaintiffs may not use “allegations of actions by his supposed

   co-conspirators in the forum” to establish personal jurisdiction over him because him doing so is,

   “especially offensive to the Due Process Clause.” Dkt. 93 at 10. Again, for the reasons set forth

   above, personal jurisdiction may be based on co-conspirators’ contacts with the forum if the

   Unspam conspiracy-jurisdiction test is satisfied.

          Here, Plaintiffs have alleged far more than “conclusory allegations” of Osmani’s

   participation in a conspiracy with the Masts. See id. These allegations include, among other

   things, that Osmani (1) met Joshua Mast in a 2021 Bible study group and “offered to help [the

   Masts] bring Baby Doe to the United States so that they may raise her as their daughter,” Am.

   Compl. ¶ 94; (2) agreed to help the Masts “obtain[ ] a fake Afghan passport for Baby Doe, id.

   ¶ 96; (3) was wired over $1,000 from the Masts, id. ¶¶ 98, 102; (4) which Osmani then wired “to

   a contact in Afghanistan to pay for the procurement of the fake Afghan passport,” which featured

   the Masts’ last name, id.; and (5) Osmani did, in fact, help the Masts secure from the Afghan

   government that fake passport for Baby Doe, which Joshua Mast used to get Baby Doe through

   immigration checks upon her arrival, id. ¶¶ 126–30. Moreover, Plaintiffs have alleged that (6)

   Osmani translated between the Masts and Plaintiffs, id. ¶¶ 98, 102–04; and (7) persistently

   asserted that the Masts only wished to help give Baby Doe medical care, when in fact Osmani

   knew that they intended to get custody of her and raise her, id. ¶¶ 8, 93, 98, 102–04.

          These allegations, taken as true and drawing all reasonable inferences in Plaintiffs’ favor,

   more than establish that Osmani participated in the conspiracy alleged. See Unspam, 716 F.3d at

   329. Accordingly, for these reasons, as well as those set forth in the Court’s ruling that Plaintiffs

   have pleaded a plausible conspiracy claim, infra, at 83–92, the Court finds that the elements of


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   conspiracy jurisdiction have also been established as against Osmani. See Unspam, 716 F.3d

   at 329. Thus, his co-defendants’ suit-related contacts with Virginia are imputable to Osmani, and

   provide constitutionally sufficient, suit-related minimum contacts to subject Osmani to personal

   jurisdiction in Virginia.

          For these reasons, Motley’s and Osmani’s motions to dismiss Plaintiffs’ complaint for

   lack of personal jurisdiction will be denied. Dkt. 90; Dkt. 91 at 10–19; Dkt. 92; Dkt. 93 at 6–10.

                       Whether Plaintiffs Have Stated Claims to Relief on the Merits

          Finally, the Court turns to address Defendants’ arguments that Plaintiffs have failed to

   state a claim for relief. As previously discussed, the Court concluded that the Amended

   Complaint’s claims for tortious interference with parental rights and false imprisonment, as well

   as all claims brought on Baby Doe’s behalf, fall within the domestic relations exception to

   federal diversity jurisdiction. See supra at pp. 39–49. Accordingly, the Court will consider only

   whether Plaintiffs have stated plausible claims of fraud, conspiracy, and intentional infliction of

   emotional distress under Virginia law.

          1. Fraud

          Plaintiffs have sued Joshua and Stephanie Mast, and Kimberly Motley for fraud. See Am.

   Compl. ¶¶ 161–79. The Masts and Motley have sought dismissal of the fraud count. The Court,

   however, concludes that Plaintiffs have stated a plausible claim of fraud.

          For their part, Joshua and Stephanie Mast argue that Plaintiffs have failed to state a fraud

   claim because they “fail to allege with particularity not only [ ] ‘the time, place, and contents of

   the false representations,’ but also ‘the identity of the person making the misrepresentation and

   what he obtained thereby.’” Dkt. 101 at 23 (citing Harrison v. Westinghouse Savannah River

   Co., 176 F.3d 776, 784 (4th Cir. 1999)) (Masts’ emphasis). Likewise, Motley also argues that

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   Plaintiffs’ claims do not “satisfy Rule 9(b)’s heightened pleading standard.” Dkt. 91 at 21. She

   contends that the Amended Complaint lacks necessary “time, place, or content allegations” of

   the fraud that Motley allegedly committed. Id. at 22. The Masts further contend that “[i]n

   Virginia, fraud usually involves some loss of finances or property,” and that because Plaintiffs

   have not “explained what property they lost or what damages were proximately caused by the

   Masts’ actions,” they therefore “failed to plead a claim for fraud.” Dkt. 101 at 23.

          The Masts cite no authority for the proposition that, without a loss of “finances or

   property,” a fraud claim would not lie. The “common law tort” of fraud requires proof of the

   following elements: “(1) a false representation, (2) of a material fact, (3) made intentionally and

   knowingly, (4) with intent to mislead, (5) reliance by the party misled, and (6) resulting damage

   to him.” Qiu v. Huang, 885 S.E.2d 503, 513 (Va. Ct. App. 2023) (quoting Thompson v. Bacon,

   425 S.E.2d 512, 514 (Va. 1993)). Nowhere does the tort demand a loss of finances or property—

   but rather, “resulting damage” to the plaintiff, see id., and the “usual remedy in an action for

   fraud is to restore the defrauded party to the position he held prior to the fraud,” Murray v.

   Hadid, 385 S.E.2d 898, 904 (Va. 1989).

          Plaintiffs have included in their Amended Complaint more than sufficient factual

   allegations that, taken as true, would support plausible fraud claims against the Masts and

   Motley.

          Plaintiffs claim that the Masts engaged Motley’s services to find and contact Plaintiffs

   “and lure them into facilitating Baby Doe’s travel to the United States, purportedly for the sole

   purpose of obtaining medical treatment for her,” when, in fact, they sought “to perpetrate the

   abduction of Baby Doe.” Am. Compl. ¶¶ 162–63. That claim is then backed up with specific

   facts. Plaintiffs allege that the Masts first reached out to Motley in the fall of 2019, to seek her


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   help “bring[ing] Baby Doe to the United States,” and Joshua Mast further “advised Motley that

   he and Stephanie Mast intended to adopt Baby Doe.” Id. ¶ 76. In other words, she was, from the

   very beginning, aware of the Masts’ intention to adopt Baby Doe. The Masts and Motley

   communicated by email and phone between “October 25–27, 2019,” about their “shared desire to

   remove Baby Doe from Afghanistan.” Id. ¶ 77. Then, when the United States released Baby Doe

   to the Afghan Government for reunification with her family, Joshua Mast “advised Motley that

   he needed help to ‘handle [Baby Doe’s] situation privately,’ by locating her relatives, contacting

   them, offering them medical care, and then bringing the child out of Afghanistan to the United

   States, where the Masts had already successfully petitioned a Virginia Court for legal custody

   over the child.” Id. ¶ 79 (emphasis added). Motley, however, had received the official Afghan

   diplomatic correspondence requesting Baby Doe’s return for reunification with her family, and

   so while she had the JDR Court order. Id. ¶ 80. Accordingly, Plaintiffs allege that Motley should

   have known the latter to be void because it was “expressly conditioned on a waiver of

   jurisdiction from the Government of Afghanistan,” and Motley had the diplomatic

   communication from Afghanistan asserting, rather than waiving, jurisdiction. Id.

          Joshua Mast thereafter sent Motley information about “the identities of the people to

   whom Baby Doe was transferred,” and Motley used that to find a contact that could connect her

   with Plaintiffs in Afghanistan. Id. ¶¶ 82–83. On March 6, 2020, Motley called Plaintiffs for the

   first time at the Masts’ direction. Id. ¶ 83. In a later conversation that day, Motley “advised Jane

   Doe that she understood Baby Doe had serious medical issues and that Motley knew an

   American family who wanted to help her.” Id. ¶¶ 84–85. But, per her agreement with the Masts,

   Motley “did not disclose the Masts’ custody and interlocutory adoption order for Baby Doe, and




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   did not disclose the Masts’ intention to adopt Baby Doe or that the Masts had initiated court

   proceedings to do so.” Id. ¶ 85.

          Shortly thereafter, on March 22, 2020, Joshua Mast wired Motley a $4,500 payment via

   PayPal. Id. ¶ 87. He messaged her to confirm she received the funds. Id. Motley “agreed to work

   with the Masts as they implemented their plan,” id. ¶ 81, and she did so knowing that the Masts

   intended to adopt Baby Doe, id. ¶ 76. (By this time, Motley had received the Masts’ JDR custody

   order, and she further knew the Government of Afghanistan had demanded her reunification with

   her family and the United States had agreed to do so. Id. ¶¶ 80–81.) Motley continued to

   “communicate with and befriend” Plaintiffs “on behalf of the Masts over the course of more than

   a year, making multiple offers to assist with baby Doe’s medical care and occasionally asking for

   photographs of Baby Doe.” Id. ¶ 88. Motley did so at the Masts’ direction, and was paid those

   thousands to do so. Id. Notably, on another specific date, July 30, 2020, “in response to one of

   Motley’s requests for photos, Jane Doe sent her photographs of Baby Doe in swim trunks in a

   small swimming pool.” Id. ¶ 90. On February 2, 2021, the Masts emailed a photo of Baby Doe

   that was “nearly identical to the photo of Baby Doe that Jane Doe had sent to [Motley],” and that

   altered photo was sent to Osmani “to be conveyed to his contact in the Afghan passport office”

   to obtain “a fake Afghan passport for Baby Doe.” Id. ¶¶ 95–96; see also id. ¶¶ 90, 127–30

   (alterations of Baby Doe photo).

          Plaintiffs have alleged these and other facts that the Court must take as true at this stage

   of the litigation. They certainly plead with particularity how Motley was aware of the Masts’

   intention to adopt Baby Doe, id. ¶ 76, knew that while the Masts had a custody order for Baby

   Doe, id. ¶ 80, and still on numerous, specific occasions, represented to Plaintiffs that she was a

   conduit for Americans who sought simply to assist Plaintiffs secure medical care for Baby Doe


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   in the United States—nothing more, id. ¶¶ 85, 88–89, 104, and that she secured from Plaintiffs

   photos of Baby Doe that the Masts ultimately used to get a fake Afghan passport for Baby Doe,

   id. ¶¶ 90, 95–96, 127–30. And throughout over a year of communications with Plaintiffs, Motley

   never once disclosed to them that the Masts had a custody order for Baby Doe, intended to adopt

   her, and sought to prevent the reunification of Baby Doe with her family. See id. ¶¶ 76, 80, 85,

   88–89, 104. Plaintiffs have alleged these material misstatements and omissions, supporting a

   plausible claim of fraud against Motley that satisfies Rule 9(b)’s stringent pleading standard.

          Joshua and Stephanie Mast, for their part, also argue in a cursory way—i.e., one sentence

   in their motion to dismiss—that Plaintiffs’ allegations fail to state a claim of fraud with the

   requisite particularity. See Dkt. 101 at 23. Not so. Plaintiffs’ allegations, particularly concerning

   the Masts, are extensive, detailed, and specific with respect to the who, what, where, and when,

   of the alleged fraud. Plaintiffs have laid out a detailed scheme by the Masts to “lure [Plaintiffs]

   into facilitating Baby Doe’s travel to the United States, purportedly for the sole purpose of

   obtaining medical treatment for her,” when in fact, they used repeated “false and misleading

   statements and material omissions” to “perpetrate the abduction of Baby Doe” when she arrived

   in the United States. Am. Compl. ¶¶ 162–65.

          For example, Plaintiffs allege that “[o]n July 10, 2021, as well as in subsequent

   conversations, Joshua and Stephanie Mast, with the assistance of Motley, intentionally

   misrepresented to [Plaintiffs] that their sole intention was to procure medical assistance for Baby

   Doe, and that it was in [Plaintiffs’] best interest to send Baby Doe to the United States,” while

   the Masts “also intentionally withheld from [Plaintiffs] any information or notice of the court

   proceedings that they had initiated for Baby Doe in Virginia.” Id. ¶ 168. Then, “[o]n August 26,

   2021, … Joshua Mast represented to [Plaintiffs] that he was their attorney.” Id. ¶ 169. On that


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   same date, while Plaintiffs “were in Germany awaiting their final flights to the United States,”

   “Joshua and Stephanie Mast came to their room three times and again made misrepresentations

   to them, reiterating that they wanted to take Baby Doe to the United States for the sole purpose

   of obtaining medical treatment for her.” Id. ¶ 170. They also stated that Baby Doe should travel

   with them, “separately from [Plaintiffs], because they were simply trying to make it easier for

   Baby Doe to enter the United States,” when in reality, “their true intention was to unlawfully and

   permanently take physical custody of Baby Doe.” Id. Finally, on September 3, 2021, Plaintiffs

   allege that the Masts ultimately orchestrated the removal of Baby Doe from their custody while

   they were staying at Fort Picket, and only then “revealed to [Plaintiffs] for the first time that he

   had adopted Baby Doe.” Id. ¶ 171.

          Plaintiffs have included specific dates of numerous false representations by the Masts.

   See, e.g., Am. Compl. ¶¶ 98, 119–21, 169–71. Specific false and misleading language, via text

   messages and voicemail by Joshua Mast were included in full in the Amended Complaint. See,

   e.g., id. ¶ 119 (describing August 26, 2021, WhatsApp voice note from Joshua Mast to Jane Doe,

   “instructing her to tell anyone who asks that he was their lawyer”); id. (related text from Joshua

   Mast to Jane Doe the same day); id. ¶ 120 (voicemail from Joshua Mast to John Doe the same

   day, advising that if “someone tries to talk about documents … say ‘we have a lawyer here to

   talk with you about that for us’ and that’s me”). Plaintiffs also describe in detail encounters with

   the Masts at the time while they were in Germany, and the Masts’ three visits to Plaintiffs’ room,

   in which they repeatedly “tr[ied] to convince [Plaintiffs] to allow Baby Doe to travel separately

   with the Masts, insisting that it would be easier for the toddler to enter the United States that

   way,” but Plaintiffs “repeatedly refused, as they did not want to leave Baby Doe in anyone else’s

   care.” Id. ¶ 121. And again, the Masts did not inform Plaintiffs about the adoption order, or their


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   previous attempts to prevent Baby Doe from being reunited with her family in Afghanistan;

   instead, they “continued to misrepresent that they only wanted to bring Baby Doe to the United

   States to provide her with medical care.” Id. ¶ 124.

          These, and other allegations in the complaint, must be taken as true at this stage of the

   proceeding on a Rule 12(b)(6) motion to dismiss. And, taken as true, Plaintiffs’ allegations show

   that the Masts engaged in a long-standing, concerted duplicitous attempt to trick Plaintiffs into

   bringing Baby Doe to the United States, lured with representations that the Masts were only

   trying to assist her get medical care in the United States, when in fact they hid their motivation

   all along to adopt her and effectively abduct her from Plaintiffs’ care. The elements of fraud are

   pleaded with particularity. See Fed. R. Civ. P. 9(b). Plaintiffs have stated plausible fraud claims

   against the Masts as well as Motley.

          2. Conspiracy

          Plaintiffs have sued all Defendants—i.e., Joshua and Stephanie Mast, Richard Mast,

   Kimberly Motley and Ahmad Osmani—for common law conspiracy. See Am. Compl. ¶¶ 180–

   88. Each has sought dismissal of the conspiracy count for failure to state a claim. For the

   following reasons, the Court concludes Plaintiffs have stated a plausible claim of common law

   conspiracy under Virginia law, as to each of the Defendants.

          “A common law conspiracy consists of two or more persons to accomplish, by some

   concerted action, some criminal or unlawful purpose or some lawful purpose by a criminal or

   unlawful means.” Bhattacharya v. Murray, 93 F.4th 675, 698 (4th Cir. 2024) (quoting The

   Country Vintner, Inc. v. Louis Latour, Inc., 634 S.E.2d 745, 751 (Va. 2006)). A civil action for

   conspiracy is based on “damage caused by the acts committed in furtherance of the conspiracy.”

   Comm. Bus. Sys., Inc. v. Bellsouth Servs., Inc., 453 S.E.2d 261, 267 (Va. 1995).


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          Defendants raise myriad challenges to the conspiracy count. First, the Masts, Motley and

   Osmani argue that the Court should dismiss the common law conspiracy claim “because the

   Does fail to allege an underlying tort.” Dkt. 101 at 25 (citing Almy v. Grisham, 639 S.E.2d 182,

   189 (Va. 2007)); Dkt. 93 at 13; Dkt. 91 at 25. To be sure, “in Virginia a common law claim of

   civil conspiracy generally requires proof that the underlying tort was committed.” Almy, 639

   S.E.2d at 188. But the Court has already concluded that Plaintiffs have sufficiently pleaded a

   claim for fraud under Virginia law. See supra at pp. 77–83. Plaintiffs can pursue a common law

   conspiracy claim under a “conspiracy-to-defraud” theory. See Terry v. SunTrust Banks, Inc., 493

   F. App’x 345, 358–59 (4th Cir. 2012) (applying Virginia common law of conspiracy); see also

   Vivos Acquisitions, LLC v. Health Care Res. Network, LLC, No. 1:19-cv-1606, 2020 WL

   1362285, at *10–11 (E.D. Va. Dec. 30, 2020) (holding that, because the counter-plaintiffs

   “adequately alleged their fraud claim,” and “they have also met the requirements of Rule 9 and

   successfully alleged the underlying tort,” their statutory and common law conspiracy claims

   under Virginia law survived).

          Next, all Defendants argue that Plaintiffs have not stated a plausible conspiracy claim, as

   to them, with the requisite particularity. Joshua and Stephanie Mast argue that Plaintiffs’

   allegations do not “recount any particular meetings or communications between the Defendants,

   nor do they recount what in particular was allegedly said during these communications.”

   Dkt. 101 at 25. Motley claims Plaintiffs “don’t plausibly allege facts showing that [she] joined

   any conspiracy,” but only “make conclusory allegations” as to a conspiracy “to abduct Baby

   Doe.” Dkt. 91 at 25. Osmani says the allegations of conspiracy against him “are even weaker

   than the claims against the Masts,” and that Plaintiffs’ allegations do not demonstrate he “knew

   of any plot … and then actively and knowingly decided to advance it.” Dkt. 91 at 13–14. Finally,


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   Richard Mast contends that the Amended Complaint has only “supposition” that he conspired

   with the other defendants, supporting nothing more than a “mere possibility” of misconduct,

   which does not suffice to state a plausible claim for relief. Dkt. 99 at 21.

           Because Plaintiffs’ common law conspiracy alleges fraud, the circumstances constituting

   the fraud must be pled with particularity. See Terry, 493 F. App’x at 358. Again, the Court has

   found Plaintiffs pleaded their fraud claim with particularity, sufficient to satisfy Rule 9(b). See

   supra at pp. 77–83. The remaining question as to common law conspiracy is whether Plaintiffs

   “have plausibly and non-conclusorily alleged” that Defendants “combined … to engage in

   concerted action to commit that fraud, as required by Virginia law.” See Terry, 493 F. App’x at

   359 (cleaned up). A defendant’s “knowledge as to the true facts” and “intent to deceive” may be

   pled “generally,” so long as the complaint “show[s] … that the defendants’ knowledge and/or

   intent, where relevant, plausibly entitles the plaintiff to relief.” See id. at 358 (cleaned up).

           The Masts’ arguments that “particular meetings or communications” are not included in

   the Amended Complaint is as incorrect as it is immaterial. Of course, “conclusory” language of a

   conspiracy will not suffice. Marshall v. Marshall, 523 F. Supp. 3d 802, 838 (E.D. Va. 2021). But

   neither need a plaintiff have been a proverbial “fly on the wall”—recording all that was said in

   hidden communications of co-conspirators in order to even bring a plausible conspiracy claim.

   Conspiracies, by their nature, are often clandestine, and direct evidence supporting them is

   difficult to unearth. Cf. United States v. Burgos, 94 F.3d 849, 857 (4th Cir. 1996) (en banc).

   Rather, what Plaintiffs need to establish is that Defendants “combined together to effect a

   preconceived plan and unity of design and purpose.” See Bay Tobacco, LLC v. Bell Quality

   Tobacco Prods., LLC, 261 F. Supp. 2d 483, 499 (E.D. Va. 2003) (citation omitted, cleaned up).




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          On that score, the Amended Complaint has numerous, well-pleaded and detailed

   allegations that, taken as true, establish that Joshua and Stephanie Mast, Richard Mast, along

   with Motley and Osmani, combined to effect a preconceived plan and unity of design and

   purpose—to mislead Plaintiffs into bringing Baby Doe out of Afghanistan and into the United

   States for the ostensible purpose of getting medical care, where the Masts would have legal

   custody of Baby Doe and could abduct her against Plaintiffs’ will.

          Numerous, specific factual details are alleged to support Defendants’ combination to

   achieve that unlawful end:

              x   Fall 2019. Joshua and Stephanie Mast contacted Motley “to assist in their efforts
                  to bring Baby Doe to the United States,” and Joshua “advised Motley that he and
                  Stephanie Mast intended to adopt Baby Doe.” Am. Compl. ¶ 76.

              x   October 25–27, 2019. Joshua Mast and Motley exchanged emails and phone calls
                  “about a shared desire to remove Baby Doe from Afghanistan.” Joshua Mast
                  acknowledged Afghan government needed to approve a visa for her to travel to
                  the United States. Id. ¶ 77.

              x   February 27, 2020. The day after the United States released Baby Doe to the
                  Afghan Government and the IRCR to be reunited with her family, Joshua Mast
                  told Motley “he needed help to ‘handle [Baby Doe’s] situation privately,’ by
                  locating her relatives, contacting them, offering them medical care, and then
                  bringing the child out of Afghanistan to the United States, where the Masts had
                  already petitioned a Virginia Court for legal custody over the child.” Id. ¶ 79.

                     o Also on that day, Motley received a copy of the Masts’ custody order, as
                       well as a diplomatic communication showing that Afghanistan was not
                       waiving jurisdiction over Baby Doe (negating a requirement of the
                       custody order in Virginia). Id. ¶ 80.

              x   March 2020. Motley had a conversation with Plaintiffs where she “advised Jane
                  Doe that she understood Baby Doe had serious medical issues and that [she] knew
                  an American family who wanted to help her,” but “[p]ursuant to her agreement
                  with [the Masts], [she] did not disclose the Masts’ custody order and interlocutory
                  adoption order for Baby Doe.” Id. ¶ 85.

              x   March 22, 2020. Joshua Mast wired Motley $4,500 via PayPal and messaged her
                  to confirm receipt of the funds. Id. ¶ 87.


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            x   Over the course of the following year, Motley “ma[de] numerous offers to assist
                with Baby Doe’s medical care and occasionally ask[ed] for photographs of Baby
                Doe.” She “did so at the direction of Joshua and Stephanie Mast and received
                thousands of dollars to do so.” Id. ¶ 88.

            x   July 30, 2020. In response to a request by Motley for a photograph of Baby Doe,
                Jane Doe sent a photograph of her in swimming trunks in a small wading pool. Id.
                ¶ 90. This photograph was nearly identical to one the Masts later altered and sent
                to Ahmad Osmani for her fake Afghan passport. Id. ¶ 95.

            x   In early 2021, Joshua Mast met Ahmad Osmani in a WhatsApp Bible study
                group, during which “Osmani offered to help Joshua and Stephanie Mast bring
                Baby Doe to the United States so that they may raise her as their daughter.” See
                id. ¶¶ 94–95.

            x   February 2, 2021, Stephanie Mast emailed Joshua an altered photo of Baby Doe,
                nearly identical to the one Jane Doe sent to Motley in July 2020—altered to be
                reformatted as a passport photo. Joshua forwarded it to Osmani, “to be conveyed
                to his contact in the Afghan passport office.” Id. ¶ 95.

            x   March 2021. Osmani “assisted Joshua and Stephanie Mast in obtaining a fake
                Afghan passport for Baby Doe.” They wired over $1,000 to Osmani, who wired
                those funds to “to a contact in Afghanistan to pay for the procurement of the fake
                Afghan passport with a fake Americanized name that featured the Mast[s’] last
                name. Id. ¶ 96.

                   o Osmani knew that Baby Doe was living with her biological family in
                     Afghanistan; in his phone, he identified John Doe as the child’s cousin. Id.
                     ¶ 97.

            x   July 10, 2021. Motley offered to introduce Plaintiffs to the American family
                interested in providing medical care to Baby Doe (i.e., the Masts), and Motley
                facilitated a conversation between Plaintiffs and Joshua Mast, in which Osmani
                provided interpretation. During the call:

                   o Mast “claimed to be a volunteer in the U.S. military hospital who was
                     responsible for her care while [Baby Doe] was hospitalized there.” Id.
                     ¶ 98.

                   o “Mast told [Plaintiffs] that he was familiar with Baby Doe’s medical needs
                     and warned them that if Baby Doe did not receive medical care in the
                     United States, she could become blind, brain-damaged, and/or
                     permanently disabled. Id.



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            x   Osmani had later telephone and written conversations with Plaintiffs in which the
                Masts did not participate. Osmani referred to John Doe as his “brother,” and
                Plaintiffs trusted Osmani, “an Afghan who spoke their native language, when he
                told them that the Masts were trustworthy people with no ulterior motives who
                just wanted to help Baby Doe receive medical care.” Id. ¶ 102.

            x   August 2021. As U.S. troops withdrew from Afghanistan and the Taliban was
                resurgent, the Masts again reached out to Plaintiffs to convince them to bring
                Baby Doe to the United States. Id. ¶ 105.

                   o Plaintiffs said they were considering the proposal but they “were
                     concerned that they would not be able to return to Afghanistan.” Id.

                   o Joshua Mast and Osmani “assured them that they would need to be in the
                     United States for Baby Doe’s medical care for only two or three months
                     and that they would then be able to re-enter Afghanistan without issue.”
                     Id. ¶ 106. Mast and Osmani did not inform Plaintiffs about the final
                     adoption order that the Masts had obtained. Id.

            x   August 20, 2021. Unbeknownst to Plaintiffs, Richard Mast emailed USCIS a
                petition on behalf of John Doe, prepared at the direction of Joshua and Stephanie
                Mast by Natalie Osmani, Ahmad Osmani’s wife. Id. ¶ 109.

                   o Richard Mast also wrote that John and Jane Doe “are helping US DoD at
                     great risk to themselves, and have cared for a minor DoD dependent child
                     [Baby Doe] who has serious medical needs.” Id. ¶ 112. By then Baby Doe
                     was not a DoD dependent.

            x   August 23, 2021. Plaintiffs spent the night in Kabul with Osmani’s parents and
                siblings, at the direction of Joshua Mast and Osmani. Id. ¶ 116.

            x   August 24–26, 2021. Joshua Mast and Osmani continued to communicate with
                Plaintiffs as they traveled from Afghanistan to the United States. Id. ¶ 117.

            x   August 26, 2021. Joshua Mast instructed Plaintiffs John and Jane Doe and sent
                them text and voice messages telling them to tell others falsely that he was their
                lawyer. Id. ¶¶ 119–20.

            x   Circa August 26, 2021. Joshua and Stephanie Mast came to visit Plaintiffs three
                times while they were in Germany, trying to convince them to travel separately
                with Baby Doe, “insisting it would be easier for the toddler to enter the United
                States that way.” Plaintiffs refused, because they didn’t want to leave Baby Doe
                in anyone else’s care. Osmani was the interpreter during these conversations. Id.
                ¶¶ 120–22.


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          Based on these and other facts in the Amended Complaint, Plaintiffs have detailed

   Defendants’ involvement in a conspiracy to defraud Plaintiffs and abduct Baby Doe. The

   allegations include a scheme by Joshua and Stephanie Mast, working in combination with

   Motley and Osmani, to (by false pretenses) get a photograph of Baby Doe from Jane Doe, which

   they then used to procure a fake Afghan passport for Baby Doe with a fake, Americanized name

   and the Masts’ familial name—fake documentation they then used to affect her abduction. Id.

   ¶ 184. The allegations also detail how Joshua and Stephanie Mast and Richard Mast worked

   together to facilitate Baby Doe’s abduction by, among other things, making misrepresentations

   on immigration applications, filings with the USCIS and to this Court in their attempt to stop

   Baby Doe’s return to her Afghan family in 2020. Id. ¶ 185. And they include various, false and

   misleading representations by the Masts, Motley and Osmani, to Plaintiffs, seeking to induce

   them to bring Baby Doe to the United States purportedly for the purpose of getting medical

   care—when the real purpose was that she could be forcibly removed from Plaintiffs’ custody and

   the Masts could raise her in the United States. Id. ¶ 186.

          Osmani’s argument that Plaintiffs failed to allege how he “knew of any plot (assuming

   there was one) and then actively and knowingly decided to advance it,” Dkt. 93 at 14, ignores the

   many facts alleged: in a WhatsApp Bible study in early 2021, Osmani offered to help Joshua

   Mast bring Baby Doe to the United States so the Masts could raise her, yet he told Plaintiffs that

   the Masts were only looking to help get her medical care; Osmani knew that Baby Doe was

   currently living with her biological family; and, in addition to translation services, he helped the

   Masts procure a fake Afghan passport for Baby Doe, using doctored images and wiring money to

   a contact in the Afghan government to name Baby Doe as a member of the Masts’ family. See,

   e.g., ¶¶ Am. Compl. ¶¶ 94–97, 102–07, 121, 184, 186. These allegations further demonstrate,


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   contrary to Osmani’s arguments, Dkt. 93 at 13–14, that ample description is pleaded concerning

   the “when and where” of the agreement, and Osmani’s motive for participating, e.g., Am.

   Compl. ¶¶ 94–95 (early 2021, communication in a WhatsApp Bible study group, agreement with

   Joshua Mast to help him bring Baby Doe to the United States, so the Masts could raise her). And

   Osmani can hardly characterize allegations that he helped the Masts secure a fake Afghan

   passport for Baby Doe as a “common place” action that Plaintiffs unfairly paint “in a negative

   light.” See Dkt. 93 at 13. 52

           Motley’s argument that there are insufficient facts alleged “showing that [she] joined any

   conspiracy,” fares no better. See Dkt. 91 at 25. Plaintiffs described specific communications that

   took place on specific dates between her and the Masts, supporting her knowing participation in

   the conspiracy to abduct Baby Doe, e.g., Am. Compl. ¶¶ 76–85, and that she was paid thousands

   for her services, id. ¶¶ 87–88.

           Richard Mast challenges the conspiracy count against him on a different basis. Richard

   argues that the claim should be dismissed as a matter of law because he was acting as Joshua and

   Stephanie’s attorney in filing the petitions before the Virginia JDR and Circuit Courts. Dkt. 99

   at 13–14. He continues: just as an agent cannot “conspire” with its principal, neither can a lawyer

   generally conspire with his client. See id. To be sure, under Virginia law “[g]enerally, an agent

   cannot conspire with its principal.” Mich. Mut. Ins. Co. v. Smoot, 128 F. Supp. 2d 917, 925 (E.D.

   Va. 2000) (quoting Fox v. Deese, 362 S.E.2d 699, 708 (Va. 1987)). While an attorney is an agent



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            While Osmani argues that Plaintiffs have insufficiently explained what duty he had to
   inform them of the “information they allegedly were denied”—i.e., that the Masts planned to
   take Baby Doe from them and raise her as their own—Osmani has not explained how the issue
   would undermine the conspiracy claim or any element thereof. On its face, this appears to be
   more of a challenge to a claim of fraud, and Plaintiffs did not bring a fraud claim directly against
   Osmani.

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   for their client and thus would fall within that rule, see id., the parties also do not dispute that this

   rule does not apply where the attorney acted “tortiously, maliciously, or with illegal motives.”

   See Dkt. 99 at 14; Dkt. 113 at 41–42. Richard Mast then spends page-upon-page of his brief

   arguing that: (1) his “motives were eminently reasonable and lawful”; (2) “dangerous

   bureaucrats at the U.S. embassy” were to blame for agreeing to turn Baby Doe over to a

   “government noted for its corruption and human rights abuses”; (3) the “actual facts” in his view,

   citing certain evidence and testimony from the Virginia court record, cast doubt on Plaintiffs’

   claim to a familial relationship with Baby Doe; and (4) “expert” testimony, State Department

   reports and news articles all supported his view that he reasonably believed Baby Doe was not a

   citizen of Afghanistan. See Dkt. 99 at 14–22.

           One glaring problem with Richard’s argument is that it goes well beyond the pleadings

   and asks the Court to not only consider, but credit, evidence in his favor notwithstanding the

   complaint’s well-pleaded allegations to the contrary. The Court cannot do this on a motion to

   dismiss—the inquiry Richard seeks would, if anything, be more suitable to summary judgment.

   Whether part of Richard’s challenged conduct—such as filing false and misleading USCIS

   applications without knowledge or authority of John Doe, or making blatant false representations

   to this Court that Joshua and Stephanie did not intend to adopt Baby Doe—fell outside the scope

   of his representation of Joshua and Stephanie, and/or whether such conduct rose to the level of

   “tortious, malicious, or illegal” conduct that would permit a conspiracy claim between attorney

   and client, are best suited for resolution on summary judgment or at a full jury trial. Richard may

   re-raise his arguments at that time. At this time, a plausible conspiracy claim has been pleaded

   against him.




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          Nor can the Court agree that only conclusory allegations have been pleaded against

   Stephanie Mast. There are specific and detailed allegations about her involvement organizing the

   scheme and furthering it alongside her husband and the codefendants here. See, e.g., Am. Compl.

   ¶¶ 75–76 (describing formation of scheme and outreach to Motley); id. ¶ 95 (Stephanie

   forwarding altered photo of Baby Doe, later sent to Osmani for fake Afghan passport); id. ¶ 138

   (Stephanie physically took Baby Doe over John and Jane Doe’s protestations). There is no basis

   to dismiss the conspiracy (or any other) claim against her. See Dkt. 86 at 25–26.

          At bottom, Plaintiffs’ allegations more than amply establish—based on the above-

   mentioned and other specific facts often detailing specific conversations with dates, locations,

   and specific persons—how Defendants “combined together to effect a preconceived plan and

   unity of design and purpose,” See Bay Tobacco, LLC, 261 F. Supp. 2d at 499, to achieve these

   unlawful ends.

          3. Intentional Infliction of Emotional Distress

          Finally, Plaintiffs have sued all Defendants for intentional infliction of emotional distress.

   See Am. Compl. ¶¶ 189–96. All Defendants have sought dismissal of the count, arguing that the

   Amended Complaint does not state a plausible IIED claim. For the following reasons, the Court

   has little difficulty finding that Plaintiffs have alleged plausible IIED claims against each of the

   Defendants.

          An IIED claim requires a plaintiff to establish: “(1) the wrongdoer’s conduct was

   intentional or reckless; (2) the conduct was outrageous and intolerable; (3) there was a causal

   connection between the wrongdoer’s conduct and the emotional distress; and (4) the emotional

   distress was severe.” Harris v. Kreutzer, 624 S.E.2d 24, 33 (Va. 2006). The tort of IIED is not

   “favored” under Virginia law. Id.


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          The Masts argue that Plaintiffs’ allegations are not such as would “clear this exceedingly

   high bar” of conduct that was “so outrageous in character, and so extreme in degree, as to go

   beyond all possible bounds of decency, and to be regarded as atrocious, and utterly intolerable in

   a civilized community.” Dkt. 101 at 24 (quoting Harris, 624 S.E.2d at 33). Osmani also argues

   that Plaintiffs’ allegations against him do not establish that he engaged in “outrageous and

   intolerable” conduct. Dkt. 93 at 14–15. Motley similarly argues that no factual allegations

   against her that “come[ ] close to that threshold” of “outrageous and intolerable” conduct.

   Dkt. 91 at 23–24. She contends that her role was “limited to having conversations with the Does

   when they were in Afghanistan,” which conduct was removed from “the actual cause of the

   alleged emotional distress.” Id. at 23. Nor, in Motley’s view, was she alleged to have taken any

   action “intentionally or recklessly.” Id.

          The Court concludes that each Defendant’s alleged misconduct is sufficiently

   “outrageous and intolerable” to support an IIED claim. As described above, the facts alleged

   show that Joshua and Stephanie Mast orchestrated a scheme—in combination with Motley,

   Osmani and Richard Mast—for over a year to reach out to and gain the trust of Plaintiffs, and

   induce them to bring Baby Doe to the United States solely for the purpose of getting her medical

   care; and yet all the while hiding from them that they sought to abduct her and raise her as their

   own child. Then, without warning, Joshua and Stephanie Mast facilitated Baby Doe’s removal

   from Plaintiffs’ arms, and preventing her return, and only then informing them that the Masts

   had secured adoption and custody orders. This conduct is “outrageous and intolerable,” and

   supports an IIED claim against Defendants. Harris, 624 S.E.2d at 33.

          In Raftery v. Scott, the Fourth Circuit addressed a case in which a non-custodial parent

   (the father) sought to “foster a parent/child relationship with his son, who was nearly seven years


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   old” at the time, and in which the custodial parent, his ex-wife, opposed the exercise of visitation

   rights on the basis that it would negatively impact the child. 756 F.2d at 337. Attempted

   visitation proved unfruitful, and the father sued in federal court for intentional infliction of

   emotional distress. The Fourth Circuit noted that at the trial, “[t]here was evidence clearly

   sufficient to establish that the former wife had engaged in a continuing and successful effort to

   destroy and to prevent rehabilitation of the relationship between the former husband and their

   son.” Id. On appeal, the Fourth Circuit concluded that those facts “supported a claim for

   intentional infliction of emotional distress.” Id. at 339. Using Raftery as one point of comparison,

   if poisoning the relationship and preventing visitation between parent and child can support a

   claim for intentional infliction of emotional distress, surely Defendants’ conduct—a scheme to

   abduct and remove a child from Plaintiffs’ care after they raised her as their own child for 18

   months—surpasses that in terms of outrageousness by an order of magnitude. 53



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             Later precedent from the Supreme Court of Virginia took issue with Raftery. In
   McDermott v. Reynolds, the court analyzed a plaintiff’s claim “against his former wife’s
   paramour for intentional infliction of emotional distress, when the conduct alleged would
   support an action for alienation of affection, a cause specifically prohibited by statute.” 530
   S.E.2d 902, 902 (Va. 2000). The “essential basis” of the plaintiff’s claim was “that the defendant
   had an adulterous relationship with [the plaintiff’s] wife, which he continued in an open and
   notorious manner after being confronted by [the plaintiff].” Id. at 904. That was, the court held,
   “precisely the type of conduct that the General Assembly intended to exclude from civil liability
   when it enacted Va. Code § 8.01-220,” which bars claims for alienation of affection. Id. at 904.
   McDermott noted its “disagreement with the analysis and result reached in Raftery,” as that court
   “focused its analysis on the elements of the two torts [IIED and alienation of affection], rather
   than on the conduct asserted.” Id.
           However, this Court considers McDermott of limited import and that Raftery still
   provides a useful guidepost as to the outrageousness of Defendants’ conduct. Plaintiffs’ claims
   are fundamentally different from alienation of affection claims. An “alienation of affection”
   claim “connotes only that the parent is not able to enjoy the company of his/her child,” but the
   cause of action “does not suggest that the offending party has”—as here—“removed parental or
   custodial authority from the complaining parent.” Wyatt v. McDermott, 725 S.E.2d 555, 562 (Va.
   2012) (quoting Kessel v. Leavitt, 511 S.E.2d 720, 761 n.44 (W.Va. 1998)). Neither was that the
   case in Raftery. Thus, McDermott is inapplicable to the IIED claim before this Court.

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          Motley argues that her specific conduct was limited—in terms of “having conversations

   with [Plaintiffs] when they were in Afghanistan,” and not responding to a text—and that specific

   conduct is not outrageous and intolerable. Dkt. 91 at 23–24. But Motley’s conduct cannot be

   viewed in a vacuum. Instead, “[t]he outrageousness and intolerability analysis of an IIED claim

   requires context driven consideration.” Williams v. AM Lapomarda, No. 3:19-cv-631, 2020 WL

   3643466, at *15 (E.D. Va. July 6, 2020) (citing Tharpe v. Lawidjaja, 8 F. Supp. 3d 743, 783

   (W.D. Va. 2014)) (emphasis added). Moreover, Motley’s gloss on her conduct does not account

   for the substance of her conversations with Plaintiffs—much less for its seriousness and

   centrality to the overall scheme. As alleged, Motley engaged in a months-long gaslighting-effort,

   tricking Plaintiffs into trusting the Masts and believing their motives were pure: to help get Baby

   Doe medical care. But Motley knew all along that the Masts’ plan was to take custody of Baby

   Doe and raise her, against Plaintiffs’ wishes and without consent, when Plaintiffs were ultimately

   convinced to bring her to the United States relying on those promises Motley and the Masts

   perpetuated about getting her medical care. Moreover, even assuming that Motley’s conduct was

   not “intentionally” done to cause severe emotional distress to Plaintiffs, it certainly was done

   with “reckless” disregard that her conduct “likely would cause [Plaintiffs] severe emotional

   distress.” See Almy, 639 S.E.2d at 187. 54



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              Motley cites Sirleaf v. Doe, in support of her argument that her conduct was not so
   “extreme and outrageous” as to support an IIED claim, saying the case stands for the proposition
   that “inaction through failure to report child abuse is not outrageously unacceptable.” Dkt. 91
   at 24 (citing Sirleaf v. Doe, No. 7:21-cv-237, 2021 WL 3362033, at *2 (W.D. Va. Aug. 3,
   2021)). But in that case the court held that the first and second elements of an IIED claim were
   lacking because the only allegations were that the defendants “aided Doe after the fact and
   therefore became ‘accessories’ to the infliction of emotional distress.” Sirleaf, 2021 WL
   3362033, at *2. Here, by contrast the argument is not that Motley “provided after-the-fact aid to
   someone who inflicted distress on [Plaintiffs],” see id., but rather, that Motley’s before-the-fact
   conduct was integral to and resulted in severe emotional distress.

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          Osmani also argues that Plaintiffs have not explained how he owed Plaintiffs “a duty of

   any kind,” such as would support liability for “an alleged failure to communicate.” Dkt. 93 at 15.

   As Plaintiffs argue, Osmani mistakes the elements of an IIED claim, which are not based on any

   underlying duty, as in a claim for negligence or negligent infliction of emotional distress. See

   A.H. v. Church of God in Christ, Inc., 831 S.E.2d 460, 476 & n.18 (Va. 2019). “[I]ntentional

   infliction of emotional distress, when applicable, creates a stand-alone tort duty.” Id.

          For these reasons, the Court concludes that each Defendant’s alleged conduct was so

   outrageous and intolerable as to support an IIED claim against that Defendant.

                                               Conclusion

          For the aforementioned reasons, the Court has concluded that the Court has subject

   matter jurisdiction over the core of Plaintiffs’ case: their tort claims for money damages that

   exist independently of any domestic-relations issues of Baby Doe’s custody and adoption

   pending in Virginia courts. Plaintiffs’ fraud, common law conspiracy, and intentional infliction

   of emotional distress claims are all generally applicable tort claims for which they seek money

   damages. They are currently cognizable. But Plaintiffs’ requests for declaratory relief, and their

   claims for tortious interference with parental rights and false imprisonment fall within the scope

   of the domestic relations exception, and they will be dismissed, without prejudice and with leave

   to refile upon conclusion of the Virginia court proceedings. So too will Plaintiffs’ claims brought

   on behalf of Baby Doe follow suit. The Court has also ruled that neither Burford nor Colorado

   River abstention principles warrant abstention.

          Moreover the Court has concluded that Osmani and Motley are subject to specific,

   personal jurisdiction in Virginia, and so their motions to dismiss for lack of personal jurisdiction

   will be denied. Finally, because Plaintiffs have stated more-than-plausible claims of fraud,


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   conspiracy, and intentional infliction of emotional distress, the Court will deny Defendants’

   motions to dismiss for failure to state a claim. Accordingly, the Court ORDERS:

                  1.     The Masts’ Rule 12(b)(1) motion to dismiss for lack of subject matter

                         jurisdiction be GRANTED IN PART and DENIED IN PART; and their

                         motion to dismiss pursuant to Rule 12(b)(6) be DENIED. Dkt. 85.

                  2.     Osmani and Motley’s Rule 12(b)(2) motions to dismiss for lack of

                         personal jurisdiction be DENIED; and their motion to dismiss pursuant to

                         Rule 12(b)(6) be DENIED. Dkts. 90, 92.

                  3.     Richard Mast’s Rule 12(b)(6) motion to dismiss be DENIED. Dkt. 88.

          It is so ORDERED.

          The Clerk of Court is directed to send this Memorandum Opinion & Order to all counsel

   of record.

          ENTERED this 24th day of July, 2024.




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